 

 

UST-20 COVER SHEET

 

MONTHLY FINANC|AL REPORT FOR
lNDlVlDUAL(S) NGT ENGAGED lN BUS|NESS

Case No.'|8”14536 l Report lvlonth/Year J<':`=m 1 " JS!'\ 31, 2019
Demor: Tirnothy Eyrnan

 

 

 

 

 

lNSTRUCT|ONS: Tha debtor’s monthly financial report shall include a cover sheet signed by the debtor and all UST forms and
supporting documents. Exceptions, if allowed, are noted in the checklist beiow. Fai|ure to comply with the reporting
requirements of Local Bankruptcy Rulel or the U.S. Trustee's reporting requirements, is cause for conversion or dismissal cf the
case.

 

The debtor submits the following with this monthly financial report Yes No
UST-Z'l Comparative Ba|ance Sheet, or debtor’s balance sheet. m
The debtors balance sheet, if used, shall include a breakdown of pre- and post~oelition liabilities The

 

breakdown may be provided as a separate attachment to the debtors balance sheet.

 

 

 

 

 

 

 

 

 

 

usT~22 summary of Receipta ‘/ m
UST-23 Summary of Disbursements m
UST-23 ' Flnancia| Account Detaii ' |:l
Continuation A Continuation Sheet shell be completed for each bank account or other source of debtor funds end shall
Sheets lnc|ude a copy of the monthly bank statement and supporting documents as described in the instructions
UST-24 Other Financial Disclosures - Rea| Estate and F*roperty Sa|es |:|
part A When applicable include a report of sale. Aitach supporting documents such as an escrow statement for
the sale of real property. or an auctioneer’s report for property sold at auction.

_ UST-24 Other Financia| Discicsures - lnsurance, etc. |::|

part B For any changes or renewals of insurance ccverage, include a copy of the new certificate of insurance
DEBTOR’S CERTIFICAT|ON

l certify under penalty of perjury that the information contained in this monthly financial report is complete true,
and accurate to the best of my Wledge, information and belief.

Signature(s): (‘E/ //W . Da,[e: n
-..--' vV

 

 

The debtor, or trustee, if appointed. must sign the monthly financial report. Debtor’s counsel may not sign a financial report for
the debtor. ’

 

 

 

 

lV|onih|y Financlal Report - lndivldual(s] Not Engaged in Bus|ness Page 1 of 6
Unitec States Trustee - Western District of Washington (Dec. 2017;

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Case Number

Debtor T|mothy Eyman Month Ending

 

18-14536

 

Jan 1 - J&m 31, 2019

 

 

 

UST- 21 STATEMENT OF FlNANClAL COND|T|ON

 

 

 

Footnotes or explanations if any. may be attached to this page.

lNSTRUCTlONS: This balance sheet has been designed for ease cf use by debtors not engaged in business Accordingly. it is not
intended to follow standard accounting principles For funds held in financial institutions or brokerages. the debtor must report the
month~end value. For each remaining asset the debtor may use the value listed in the last filed Schedu|e A/B, ortho current value.

 

As of month ending |January 31, 2019 l

 

 

 

 

 

 

ASSETS
Cash _(.9»
Checking Account(s) 4(05; ng 942
Savings Acoount(s) 37§'5', 53
lnvestrnent/Brokerage Account(s) v
|RA/Retirement Account(s) 20757“1 .OO

 

Remairiing Persona| Property (per Schedu|e B
but excluding all accounts listed above) 573281~56

 

Reai Property (Schedule A)

1. ReSidenCe 900000.00
2.
3.
4.
(Attach additional sheets if needed)

 

 

 

 

 

 

Other Assets (list all assets not included above.
including assets acquired post-petition, ii any)

 

 

TOTAL Assars Zl{‘§O= Zz‘l. O“

 

 

 

 

LIAB|LIT|ES
Pre-petition Liabilities
Secured Debt (Schedu|e D) D.OO
Prlority Unsecured Debt (Schedule E) 0.00
Unsecured Debt (Schedu|e F) 3177000.00

 

Total Pre-petition Liabl|lties

 

Posl-petitlon Llabilities

 

Mortgege/Rent Payments Due

 

Other Secured Debt

 

Unpaid Real Property Taxes

 

Other- Unpaid Taxes (speclfy)

 

Other Unpaid Debts (specify)

 

Total Posi-petitlon Liabi|ities

 

 

 

 

 

 

 

 

 

TOTAL LlABlL|T|ES 3177000'00

NET WORTH (TOTAL ASSETS lVllNUS TOTAL y?

l_lABiuTlEs) l l Oz‘, z 15.€

N|onthly Flnancia| Report » |ndividual(s) Not Engaged ln Buslness Page 2 of 6
(Dec. 2017)

United States Trustea - Westsrn Dislrict of Washington

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. Case Nurnber 18~14536
Debt°' Tlmothy Eyman M°"fh Endi\g Jen 1 - Jan 31, 2019

 

 

 

 

 

 

UST- 22, SUMMARY OF RECEIPTS

 

 

|NSTRUCTIONS: Complete each category and provide the net receipts total for the month. Use the Notes section to explain
or itemize receipts when appropriate (e.g., rental income from more than one property).

 

Type of Receipt Gross Amou nt Net Amount

Wages or salary ~E_[ 0` 73 (a

Socia| security, pension. or 401 k distributions

 

 

 

Rentai income (itemize by property)

 

Co||eotion of accounts receivable or note payable (speoify source)

 

Loan or otherflnancing proceeds {specity source}

 

Proceeds from sale of real property
Proceeds from sale of personal Property
attire t~iw legal del-emsqowai +' BV”W

Other(exp|ain) § 3 q isn g_v_\g‘ i¢{ R'?Q 93
\ -'\‘-'“' '

i Ottw w+ as 40’00

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Notes: I¢Q,¢( ¢:.);o l? [g' l;'\"l'ev€$'r

 

 

 

 

Monthiy Finencia| Report- individuai(e) Not Engaged in Bus|nese Page 3 of 6
(Dec. 2017)

Linited Staies Trustee ~ Weslern Dietn`ct of Washington

 

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- . CEiSe Number 18"'1 4536
Debior T'mothy Eyman i\/ionth Endins Jan 1 - Jan 31, 2019

 

 

 

 

 

 

l UST~23, SUMMARY OF D|SBURSEMENTS

 

iNSTRUCT|ONS: BEEORE COMPLET|NG Ti-iiS PAGE, prepare a UST~23 CONT|NUAT|ON SHEET (see next page) for each financial
account or other source ofthe debtor's funds. The disbursement total from each CONT|NUAT|ON SHEET will be used to complete this

SUMMARY OF DiSBURSEMENTS page.

QUARTERLY FEES: Each month the debtor must provide an accurate disbursement total for purposes of calculating its obligation to pay
statutory fees to the U.S. Trustee pursuant to 28 U.S.C. 1930 (a) (6). The disbursement total includes all payments made by the
bankruptcy estate during the reporting month, whether made by the debtor or another party for the debtor. ii includes checks written and
cash paymentsl it also includes payments made pursuant to a sale or liquidation of the debtor’s assets Typicaliy, the only transactions
excluded from the disbursement total are transfers among estate accounts during the same reporting month.

A fee payment is due 30 days atterthe end of each calendar quarter, or on April 30, July 31, October 31, and January 31, respectively
The debtor is reminded that the initial fee billing for each quarter is only an estimate*. Accordlngiy, when payment is due the debtor is
responsible for calculating disbursements forthe entire quarter (or portion thereof the debtor is in Chapter ii) and for paying the correct fee.
Failure to pay statutory fees to the U.S. Trustee is cause for conversion or dismissal of the case. if you have questions about how to
compute the disbursement totai, please call the Banl<ruptcy Ana|yst assigned to your case at (206) 553-2000.

 

* iBy necessity the fee billings are processed before the due date for the debtor‘s last monthly financial report for the quarter. Upon receipt
oi the debtor‘s reporttor the third month of the quarter, the U.S. Trustee adjusts the amount billed for that quarter, as appropriatel

 

 

Summary of Disbursements

 

 

 

 

 

 

Tota| disbursements from all UST-23 Continuation Sheet(s) {7! 842 ', 30
Cash payments not included in total above (if anyi N /A
Disbursemenis made by another party on behalf of the debtor (if any) F`J l A
Diebursements made pursuant to a sale of the debtor‘s assets (if any) N [A

TOTAL D|SBURSEMENTS TH|S MONTH FROl'l/l ALL SOURCES 17! Mz_ ca 0

 

At the end of this reporting month, did the debtor have any delinquent statutory fees owing to the U.S. 'i'rustee?
Yes E No if Yes, list each quarter that is delinquent and the amount due.

 

 

(UST-23 CONTtNU/-\T|ON SHEETS, With tl'£tzztchi'rirentsx Shou|d follow this page.)

 

N|onthly Financia| Report - lndividual(s) Not Engaged in Buslness Pege 4 of 6
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United States Trustee - Wesiem Disirict of Washington

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Debtor

Case Number

Timothy Eyman |Vionth Enclirlg

 

18-'] 4536

 

 

Jan 1 - Jan 31, 2019

 

 

 

 

UST-23 CONT|NUATION SHEET, FlNANClAL ACCOUNT DETA|L

 

 

lNSTRUCTiONS: Prepare a CONT|NUATION Si-iEET for each financial or brokerage account or other source of the
debtor‘s funds end attach supporting documents as indicated on the checklist below.

 

Account number

Depository (bank) name

H>Z?Aa

 

 

Bm&»pmwdw~dmmwgmmr

 

 

hocking
Savings

 

 

iRA/retirernent

:lEE

 

Other (exp|ain)

investment/brokerage

Pll' 'pose of this account (se|ect one]:

Funds held in trust by debtor's attorney

 

 

 

 

Beginning cash balance
Acid:

Transfers in from other accounts

/;34, wsi 3 3

GE’F.L@

 

Loan or financing proceeds deposited to this account
(identify source)

 

 

Subtract:

. Totai cash available this month

f
Other receipts deposited to this account §/§§§

Transfers out to other accounts

 

 

Disbursements from this account

O+e%
ericon
'M

 

(a|| checks written for the month plus cash
withdrawals if any)

include this number when calculating
"Total disbursements from all UST-23
Continuation Sheets" on line 1 of
UST-23, Summary of Disbursements.

 

Adjustrnents, if any (expia|n)

 

Ending cash balance

 

w
r/er). ?z€.,;~iy
\.___________,L_.--"

 

 

A monthly bank statement (or attorney's trust account stalement); -
if applicabie, a detailed statement of funds received or disbursed by another party for the debtor. g

Does this CONT|NUAT|ON SHEET include the following supporting docurnehte~)l as required:

Yes No

 

 

 

 

C'a$€,'13'145'36"_'_`|_\7|"|15 DOQ`_'_§$__ ___F_i|€d'fO.Z./l_4/l_.9____ "Efnt,-""QZ/_l4/l9`.16§5_7§_14__ ____F’_t`i_l__51`0.'?_52v

UST-23 CONT|NLJAT|ON SHEET, Nun'iber

of

 

Debtor Timothy Eyrnan

 

Case Number 18-14536

 

Month Endine Jan 1 ~ Jan 31, 2019

 

 

 

 

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CONT|NUAT|ON SHEET, F|NANC|AL ACCOUNT DETA\L

lNSTRUCT|ONS: Prepare a CONT|NUAT|ON SHEET for each financial or brokerage account or other source of the
debtors funds and attach supporting documents as indicated on the checklist below.

 

Depository (bank) name
Account number

 

‘,§ah\h QFHHL,€VJCO’».
z?ze

 

 

 

 

Checking

£avings
investment/brokerage
|RA/retirement

 

 

:11:|:7§

 

' Pu'pose of this account (select one):

Funds held in trust by debtor's attorney

 

l Other (exp|ain)

 

 

 

3'!(5`. S`O

 

Beginning cash balance

Add: Transfers in from other accounts

 

Loan cr nnancing proceeds deposited tc this account
(identify source)

 

Other receipts deposited to this account 40 t 0 3

 

Tota| cash available this month

 

Subtract: Transfers out to other accounts

 

 

Diebursements from this account ,
(al| checks written for the month plus cash
withdrawals if any)

 

include this number When calculating
"Total disbursements from all UST-23
Continuation Sheets" on line 1 of
UST-23, Summary of Disbursements.

 

Adjustrnents, if any (e)<piain)

 

Ending cash balance

379'§.§3

 

 

 

Does this CONT|NUAT|ON Si-|EET include the following supporting documents. as required: Yes Nc
A monthly bank statement (or attorneys trust account statement); -
if applicablel a detailed statement of funds received or disbursed by another party for the debtor. 1 m

 

 

 

 

-1

UST-ZB CONT|NUATION SHEET, Number of

.. f_`__f`_Q§l$_§f.l§fijlé§.$§:'_\{lf'_`-;B;f"§Q..Q`C 63 """`F`i_`l`€d" 02/14/19 'Em'-‘ "02'/`1`4'/19 1"6'?‘5_?;§14""""P'Q;-'_`__.§_.Qi_'_§?_`_'_______;_

 

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Case Number 18-14536

 

 

new Tirnothy Eym€m none tending Jan 1 - Jan 31, 2019

 

 

 

 

l UST~23 CONTiNUAT|ON SHEET, F|NANC¥AL ACCOUNT DETA|L

INSTRUCTIONS: Prepare a CONTINUAT|ON SHEET for each financial or brokerage account or other source of the
debtor‘s funds and attach supporting documents as indicated on the checklist beiow.

 

Depository (bank) name KQ)‘~? w

Account number 404 0

 

 

 

pose of this account (seiect one):
hecking

 

Savings

 

investment/brokerage
lRA/retirement
Funds held in trust by debtor's attorney

ji:[

 

Other (explain)

 

 

 

 

/o+;'??(p. 8\

Beginning cash balance

 

 

Add: Transfers in from other accounts

 

Loan or nnancing proceeds deposited to this account
(identify source)

 

Other receipts deposited to this account t 515

 

“i'otai` cash available this month

 

Subtract: Transfers out to other accounts

 

 

 

Disbursernents from this account ,
(ai| checks written for the month plus cash

 

withdrawals if any)
include this number when calculating

"Total disbursements from ali UST-ZS
Continuation Sheets“ on line t of
UST-23, Summary of Dlsbursements.

 

Adjustments, if any (exp|ain)

 

 

Ending cash balance [04 1 8 q ,q §

 

Does this CONT|NUATION SHEET include the following supporting documents as required: Yes No

A monthly bank statement (or attorneys trust account statement);
if applicablel a detailed statement of funds received or disbursed by another party for the debtor.

 

 

 

 

UST-ZS CONT|NUATlON SHEET, Nurnber Of

case .1s-14536-i\1/its__ oociss:';'isile_c ‘02/.14'11:9':;:; Em_._ 02/__1_4¢,19 _16.:_57:_14..,. Pg_; _7_ or _5.2~~:~

 

 

 

 

. Case Number 18~14536
D`°'b“" T'mothy Eyman M<>nfh aiding Jan 1 ~ Jan si, 2019

 

 

 

 

 

 

F UST-23 CONTiNUATlON SHEET, F|NANC|AL ACCOUNT DETA|L

|NSTRUCTIONS: Prepare a CONTINUAT|ON SHEET for each financial or brokerage account or other source of the
debtor's funds and attach supporting documents as indicated on the checklist below.

 

Depository (bank) name KeQ-{ BQUV/

Account number

 

 

serv

 

pose of this account (se|ect one):
backing
Savings
lnvestment/brokerage
i_l lRA/retirement
Funds held in trust by debtor's attorney
|jOther (exp|airi)

 

 

Beginning cash balance 59 ?4`04, 71

Add: Transfers in from other accounts

 

 

l_oan or financing proceeds deposited to this account
(identify source)

 

Other receipts deposited to this account l w

 

-. Tota| cash available this month

 

Subtract: Transfers out to other accounts

[.'Jisbursements from this account , .
(a|i checks written for the month plus cash %} 951 4 '
withdrawals if any) ' ' '

 

 

include this number When calculating
"'l`ota| disbursements from ali UST-23
Continuation Sheets" on line 1 of
UST-23, Summary of Disbursements.

 

Adjustments, if any (expiain)

_ s
Ending cash balance 74.. q l (
l

Does this CONTINUAT|ON Sl-lEET include the following supporting documentsl as required: ’Yes No

 

 

 

 

A monthly bank statement (or attorney's trust account statement); g
if applicable a detailed statement of funds received or disbursed by another party for the debtor. .

 

 

 

 

lUST-23 CONTINUAT|ON SHEET, Number of

" CaSe 18-14536-MLB DOC 63 Filed 02/14/19 Ent. 02/14/19 16257:14 PQ. 8 Of 52

 

 

 

 

Case Number 18-'14536

 

 

center Timothy Eym.an Month Endins Jan l - Jan 31, 2019

 

 

 

 

l UST-23 CONT|NUATION SHEET, FINANCIAL ACCOUNT DETA|L

lNSTRUCTlONS: Prepare a CONT|NUAT|ON SHEET for each financial or brokerage account or other source cf the
debtcr's funds and attach supporting documents as indicated on the checklist below.

 

Dcpository (bank} name l"|’@f H`o‘~j€. (§QUJQ_
Account number [0(97 la

 

 

 

F’H rpose of this account (select one):

` Checl<ing

Savings l

L.| investment/brokerage

Ll l RA/retlrement

I:_l Funds held in trust by debtor's attorney

 

 

 

 

Other (exp|ain)

 

 

3-.‘?0

Beginning_cash balance

 

Aclcl: Transfers in from other accounts

 

l.oan or financing proceeds deposited to this account
(identify source}

 

 

Other receipts deposited to this account 0

Tota| cash available this month

 

Subtract: Transfers out to other accounts

 

Disbursements from this account ,
(a|| checks written for the month plus cash

 

withdrawals if any)
include this number when calculating

"Tota| disbursements from atl UST-23
Continuation Sheets" on line 1 of
UST-23, Summary of Dlsbursements.

 

Adjuetments, if any (exp|ain)

 

 

Ending cash balance 3 ~ 2 0

 

Does this CONT|NUAT|ON SHEET include the following supporting documents as required: Ves No

A monthly bank statement (or attorneys trust account statement); iii
lf applicab|e, a detailed statement of funds received or disbursed by another party for the debtor. -

§-

 

 

 

 

 

UST-?..B CONT|NUAT|ON SHEET, Number of

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Debtor

Timothy Eyman

Case Number
|Vlonth Ending

 

18-14536

 

Jan 1 - Jan 31, 2019

 

 

 

UST~23 CONT|NUAT|ON SHEET, FINANCIAL ACCOUNT DETA|L

 

iNSTRUCTlONS: Prepare a CONT|NUAT|ON SHEET for each financial or brokerage account cr other source of the
debtor‘s funds and attach supporting documents as indicated on the checklist below.

 

Depository (bank) name
Account number

 

 

l-ie»~'t"iej€ @ wit

ieQ>?-€°

 

3

C

 

l ghecking

 

 

 

Savings

 

 

 

m lnvestmentr'brokerage
Li |l-“\‘A/retlrement

'_oose of this account (seiect one):

l`| Funds held in trust by debtor‘s attorney

Other (explain)

 

 

Beginning cash balance

§t,€io€. at

 

Add:

Transfers in from other accounts

 

Loan or financing proceeds deposited to this account

(identify source)

 

Other receipts deposited to this account

7,0€)

 

Tota| cash available this month

 

Subtract:

Transfers out to other accounts

 

Disbursements from this account
(ai| checks written for the month plus cash
withdrawais. if any)

 

include this number when calculating
"Tota| disbursements from ali UST-23
Continuation Sheets" on line 1 of
UST-23, Summary of Dlsbursements.

 

Adjustments, if any (explain)

 

Ending cash balance

 

‘Fdrl_ ?ii‘§?

 

Does this CONT|NUAT|ON SHEET include the following supporting documents as required: Yes No

A monthly bank statement (or attorney's trust account statement);

if applicabie, a detailed statement of funds received or disbursed by another party for the debtor. §

 

 

 

UST-23 CONT|NUAT|ON SHEET. Number

of

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l Case Number 18'14536
Debtor Tirnothy Eyman Monih lending Jan 1 - Jan 31, 2019

 

 

 

 

 

UST-24 PART A, OTHER FlNANClAL
DlSCLOSURES - F'ROPERTY SALES

 

 

 

|NSTRUCT|ONS: Fully answer each question and attach additional sheets if necessary to provide a
complete response

Yes No
Question 1 - Saie or Abandonment of the Debtor’s Assets. Did the debtor, or another party on behalf of m
the debtor, se|i. transfer. or otherwise dispose of any of the debtor's assets during the reporting month?
include only sales out of the ordinary course. An escrow statement or similar supporting document must be
attached for any sale of real estate and show all disbursements from the gross sale amount including debt payoffs

and sales commissions

 

Escrow Statemeni:

Asaet Date of Cioslng Method of Gross Net Proceecis cr Auctioneers
Descrip_ition Court Aggrova| M_ Disgosition Sales Price Received {&Date) Regort Attached?
1. `
2.
3.
4.
5.
Total

 

Any disbursements made from escrow or trust accounts from the proceeds of the above transactions should also
be included on the line of UST-Z:l entitled "Disbursements made by other parties for the debtor."

Attach additional pages as needed

Question 2 - Financing. During the reporting month, did the debtor receive any funds from an outside ij
funding source, including relatives?

 

Date of CourtA roval Amount Source of funds Date Received

See attached list of donations received from third pamej@ t

pamela )rc Ui)T` on Z/l‘l

 

 

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+4@, co
[%1®&2.88

 

 

Nlonthly Financiai Report ~ |ndividual(s) Not Engaged |n Business Page 5 of 6
(oec. 2017)

United Siates Trustee - Western District of Washington

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- Case Nurnber 18~14536
Debtor Tlmothy Eyman M°"“‘ E"d‘"g Jan 1 - Jan 31, 2019

 

 

 

 

 

UST-24 PART B, OTHER FINANC|AL
DISCLOSURES - |NSURANCE & OTHER

 

 

 

 

 

 

Yes No
Question 3 - insurance Coverage. Did the debtor renew, modify, or replace any insurance policies E
during this reporting month?
Renewals:
Provlder New Premium is a Cogy Attachecl to this Regort?
Changes:
Provider New Premium i§_ a Copy Attached to this Regort?

 

Were any insurance policies canceled or otherwise terminated for any reason during the reporting month?

lf yes, explain. m

Questiorl 4 - Payments on Pre-Petltion Unsecured Debt (requires court approva|). Did the debtor, or another party on
behalfo the debtor. make any payments during this reporting month on pre»petition unsecured debt? lfyes, disclose each
payment and include payee's name and purpose, payment date, dollar amount, and date of court approval.

None.

 

 

 

Question 5 - Payments to Attorneys and Other Professionals (requires court approval). Did the debtor, or another party
on behalf of the debtor, make any payments during this reporting month to a professional such as an attorney, accountantl
realtor, appraiser, auctioneer, business consultant or other professional person? if yes, list each payment and include
professionals name and description of services performed, payment date, dollar amount, and date of court approvai.

 

Descrlption Date of
Payee of Services Col.lrt Aggrovai Payment Date Amount
1.
2 lJ 0
3.

Total $ 0'00

 

Question 6 - Estimatecl Professional Fees. l_ist estimated post-petition professional fees and expenses To the extent
possible, use billing statements to report the actual amounts due. If billing statements have not been received. use the best

information available to estimate the fees and costs.
To be determined

 

Question 7 - Significant Events. Expiain any significant new developments during the reporting month.

Case filed on 11/28/18.

 

Question 8 - Case Progress. Explain what progress the debtor made during the reporting month toward confirmation of a
plan of reorganization

CaSe filed On 11/28/18

 

 

 

Page 6 of 6

|Vlonthly Flnanclal Report ~ |ndividuai(s) Not Engaged in Business
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Unltsd States Trustee - Westam Dlsirict of Washlngton

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Bank of America | Online Banking | Accounts l Account Details | https://secure.bankot`america.com/myaccounts/brain/redii'cct.go‘?so...

Bant\totnrnerir:a ~"~FB§`B l Uttt:?.tae ti;attli:ittg

 

Regular Savings - 2926: Account Activity Transaction Details

 

Type: Deposit

Desc:ription: B HOOG DES:CREDI'|“ ID:XXXXX6022926

( INDN:BRYAN HOOG CO 10:)<)<)<)<)<30501 PPD>

Merchant namet B HOOG
tit

Transaction Income: Deposits
category: ‘

2/10/2019, 2:48 Pl\/[

t oi"i
CG_S€ 18-14536-|\/|LB "'DOC'63 '_'Fti€d OZ/l¢i/lQ~-~Ent. 02/~-§|_-4/19 165-57214~-----~|3@-.- 13 O]°--_52_-_

 

 

 

 

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Account Details Print Friendly

lof$

https://secure.bankot`amerisa.com/myaccounts/details/doposit/print-...

 

Adv Tiered Interest Chkg - 2926: Account Aci:ivity

Balance Summary:$227,937.87 (available es of today 02/'10/2019)
View:today 02/10/2019

All Transactions

  

itu/cfr

 

 

 

 

 

 

 

 

 

 

Posting Date Description Status Amount A;:!ILH:¢!;

Amount included in Available Balance

02/04/2019 Online Bant<ing transfer to CHK 1006 Confirmation# C -70.00 230,315.26
2108624645

02/04/2019 Microsoft*EA Access 1 M 02/02 PURCHASE g ' ~5.50 230,385.26
msbi||.info WA

02/04/2019 NORTHLAKE TAVERN & PIZZ 02/01 PURCHASE C -50.54 230,390.76
SEATTLE WA

02/04/2019 SQ *TAYLOR RAY'S CA 02/01 PURCHASE OLYMPIA C -2.00 230,441.30
WA

02/04/2019 STARBUCKS 02/01 PURCl-IASE 800-782-7282 WA (; -25.00 230,443.30

02/04/2019 SQ *WAGNER'S EURCPE 02/01 PURCHASE OLYMPIA C -11.09 230,468.30
WA

02/04/2019 040 GENE JUAREZ SALONS 01/31 PURCHASE C -9.00 230,479.39
SEATTLE WA
3 Add this deal Click here to earn 10%

cash back on your Massage Envy
purchase. Keep your body working.

02/04/2019 040 GENE JUAREZ SALONS 01/31 PURCHASE C -67.00 230,488.39
SEA'i'l°LE WA

02/01/2019 VERIZON WIRELESS DES:PAYMENTS C ~179.00 230,555.39
ID:XXXXX5643900001...

02/01/2019 DISCOUNT-TIRE- 02/01 PURCHASE EVERE`|'i' WA (; -56.52 230,734.39

02/01/2019 POGACHA RESTAURANT 02/01 PURCHASE g »28.75 230,790.91
BELLEVUE WA »

02/01/2019 ARNIES OF MUKILTEO 01/30 PURCHASE MUi<ILTEO C -19.32 230,819.66
WA

02/01/2019 CHEVRON 0091841 01/30 PURCHASE BELLEVUE WA C -54.81 230,838.98

02/01/2019 sees BuRGER & BREW - E\/ 01/30 PuRCHAsE g ~34-52 230,893.79
EVERETI' WA ____....--_-----~'----__..._.__--»-~

01/31/2019 WALGREENS STOR 01/31 PURCHASE MUKILTEO WA C a19.07' 230,928.31

01/31/2019 SHELL Servic:e 01/31 PURCHASE MUKILTEO WA C -36.51 230,947.38

2/[0/2019, 1:50 PM

~ -~ ease-113-1~4536=|\/|r_e_ DOC ss ----r=il-,e`d__0;/-14/-19_;_---En-t.~~-o-`z/-l¢t/-le _16:_57:`14‘ ,Pg~.-‘_-~l_e oi»;ez_»--~-;

 

 

 

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01/29/2019

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01/29/2019

01/29/2019

Description
QFC #5832 01/31 PURCHASE MUKILTEO WA
Microsoft *Xbox 01/31 PURCHASE msbi|l.info WA

TEMPLINS TRUCK STOP 01/30 PURCHASE SPRAGUE
WA

STARBUCKS 01/29 PURCHASE 800-782-7282 WA
PIER 1 IMPORTS 01/30 PURCHASE EVERETT WA
QFC #'5832 011/30 PURCHASE MUKI|,.TEO WA

BAKE ME A WISH 01/29 PURCHASE 888-987-9474
NY

Microsoft' *Xbo)< 01/30 PURCHASE msbi|l.info WA
Microsoft *Xbo>< 01/30 PURCHASE msbill.info WA
SPIROS PIZZA PASTA 01/28 PURCHASE MUKILTEO
gm Add this deal Earn 10°/n.cash back on

your Five Guys Burgers and Fries
purchase!

2629 AMC ALDERWOOD 16 01/28 PURCHASE
LYNNWOOD WA

2629 AMC ALDERWOOD 16 01/28 PURCHASE
LYNNWOOD WA

@ Acld this deal Earn 10% cash back on
your Vudu purchase today!

CHEER ENVY 01/28 PURCHASE 425~315~6958 WA

COMCAST 8498310 DES:200028517 ID:3136792
INDN:TIM KAREN *E¥MAN CO ID:XXXXX13249...

QFC #5832 1170 01/29 PURCHASE MUKILTEO WA
QFC #5832 01/28 PU RCHASE MUKILTEO WA
Microsoft *Xbox 01/29 PURCHASE msbil|.info WA
Microsoft *Xbox 01/29 PURCHASE msbi|l.info WA

MICROSOFT *OFFICE 365 01/28 FURCHASE
MSBILL.INFO WA

COCO 2.0 01/27 PURCHASE BELLEVUE WA

RIDER 01/27 PURCHASE SEATTLE WA

§§ Add this deal C|ick here to earn 100/o
cash back on your Shari's Cafe & Pies
purchase!

Am°llnt
~11.04
-4.41

~38.25

-25.00
»94.48
-2.47

-119.92

~5.50
-6.61

-35.88

-13.78

-24.13

-430.00

-453.84

-337.54
-40.14
-6.61
-22.07

~77.27

~40.09

-87.67

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Available
Balance

230,983.89
230,994.93

230,999.34

231,037.59
231,062.59
231,157.07

231,159.54

231,279.46
231,284.96

231,291.57

231,327.45

231,341.23

2`31,365.36_

231,795.36

232,249.20
232,586.74
232,626.88
232,633.49

232,655.56

232,732.83

232,772.92

2/10/2019, 1150 Pl\/I

CaS"e 18-14536'-"|\/|LB` DOC 63 Filed 02'/'14/19 Ent. 02/14/19 16257":'14"" "Pg. 1601c 52

 

 

 

 

Account Detatls Print Friendly

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Posting Date

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Description

STARBUCKS 01/27 PURCHASE 800-782-7282 WA
7-ELEVEN 01/27 PURCHASE MUKILTEO WA

SQ *CONCESSIONS 01/27 PURCHASE Bel|evue WA

SQ *NW RAIN BOWS LL 01/27 PURCHASE
RIDGEFIELD WA

THE SCOTSMAN BISTRO LL 01/25 PURCHASE
MUKILTEO WA

SHILO INN OCEAN SHORES 01/25 PURCHASE
OCEAN SHORES WA

SQ *EXCLUSIVE TEAM GEAR 01/26 PURCHASE
Chand|er AZ

SQ *WAGNER’S EUROPE 01/25 PURCHASE OLYMPIA
WA

STARBUCKS 01/25 PU RCHASE 800-782-7282 WA

MAILCHIMP *MONTHLY 01/25 PURCHASE
MAILCHIMP.COM GA

DANIELS BROILER BV 221 011/24 PURCHASE
BEL.LEVUE WA

SHILO INN OCEAN SHORES 01/24 PURCHASE

OCEAN SHORES WA

Q Add this deal Earn 5% cash back when
you book your trip through Airbr\b.

ROMANO'S MACARONI GRIL 01/25 PURCHASE
LYNNWOOD WA

Stat:us

https:/'/secure.bankof`america.com/myaccounts/details/deposit/print-...

Available

Am°""t Balance
~25.00 232,860.59
-45.67 232,885.59
-5.00 232,931.26
-40.00 232,936.26
~37.75 232,976.26
-111.80 233,014.01
-40.00 233,125.81
~9.08 233,165.81
~25.00 233,174.89
~146.88 233,199.89
F344.60 233,346.77
-111.80 233,691.37
-40.12 233,803.17

 

2/10/2019, 1150 PlVl

 

 

 

 

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Adv Tiere_cl Interest Chkg - 2926: Account Activity

Baiance Summary:$227,937.87 (avai|ab|e as of today 02/10/2019)
View:t:oday 02/10/2019

All Transactions

 

 

 

 

 

. . . Available
Postmg Date Descrlptlon Status Amount Ba|ance
Amount included in Avai|able Ba|ance
01/28/2019 ROMANO‘S MACARONI GRIl.. 01/24 PURCHASE C -20.01 233,843.29
LYNNWOOD WA

01/28/2019 060 GENE JUAREZ SALONS 01/24 PURCHASE (; -131.00 233,363.30
LYNNWOOD WA

01/28/2019 STARBUCKS 01/24 PURCHASE 800-782-7282 WA C ~25.00 233,994.30

01/28/2019 S|-iIL.O INN OCEAN SHORES 01/27 REFUND OCEAN C 223-60 234,019-30 /
SHORES WA

01/25/2019 PUDNOI~SNOHOMISH DES:UTILITY ID:1249963 C -151.41 233,795`70
INDN:TIM EYMAN CO ID:XXXXXOSZSS WEB

01/25/2019 OFFICE DEPOT 0 01/25 PURCHASE BELLEVUE WA C ~73.98 233,947.11

01/25/2019 QFC #5832 01/25 PURCHASE MUKILTEO WA g -6.17 234,021.09

01/25/2019 HANAMI SUSHI GRILI_ 01/24 PURCHASE MUKII_TEO C --61.69 234,027.26
WA

01/25/2019 CHEVRON 0097135 01/24 PURCHASE FIFE WA C -55.56 234,088.95

01/25/2019 SQ *WAGNER'S EUROPE 01/24 PURCHASE OL.YMPIA C -9,08 234,144.51
WA

01/25/2019 APL*ITUNES.COM/BILL 01/24 PURCHASE g ~2.99 234,153.59

. 800~275-2273 CA '

01/25/2019 AVOCADOS MEXICAN RESTA 01/23 PURCHASE g -110.63 234,156.58
EVERETT WA -

01/24/2019 OFFICE DEPOT 0 01/24 PURCHASE BELLEVUE WA C -2.81 234,267.21

01/24/2019 STORABLES 19 01/24 PURCHASE LYNNWOOD WA C *32.19 234,270.02

01/24/2019 PETCO 276 01/24 PURCHASE LYNNWOOD WA C -87.77 234,302.21

01/24/2019 TARGET T- 1830 01/24 PURCHASE Lynnwood WA C -118.02 234,389.98

01/24/2019 SHELL Service 01/24 PURCHASE MUKILTEO WA C -32.84 234,508.00

01/24/2019 SUBWAY 00226183 01/22 PURCHASE MUKILTEO WA g -15.10 234,540.84

§§ Add this deal Earn 10% cash back on
your Five Guys Burgers and Fries
purchase!

2/10/2019, 1151 Pl\/l

CaSe 18-14536-|\/|LB DOC 63 ""Filed 02/14/19 Ent. 02/14/19 16257'214 PQ. 18 Of 52 '

 

 

 

Account Details Print Friendly

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Posting Date

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01/22/2019

Description

CAFE VELOCE 01/22 PURCHASE KIRK|_AND WA

$ Add this deal Italian cuisine: Earn 10%
cash back on your Buca di Beppo
purchase!

060 GENE JUARE 01/23 PURCHASE LYNNWOOD WA
2¢} Add this deal Click here to earn 10%
cash back on your Massage Envy
purchase. Keep your body working.

HOBBYLOBBY 193 01/23 PURCHASE LYNNWOOD
WA

TST* TAVERN HAl_l_ 01/21 PURCHASE BELLEVUE WA

OPC CO|_*SERVICE FEE 01/21 PURCHASE
800-487-4567 GA

WSU TUITION AND FEES 01/21 PURCHASE
866-487~4567 WA

THE LODGE SPORTS GRILLE 01/21 PURCHASE
MUKILTEO WA
§§ Add this deal Click here to earn 10%

cash back on your Shari's Cafe & Pies
purchase!

ENTERPRISE CAR TOl_.l_S 01/21 PURCHASE
877-8601258 NY

DSW. 01/20 PURCHASE 866-3797463 OH
§ Add this deal Click here to earn 10%
cash back on your M.GEMI purchase!

OFFICE DEPOT 0 01/22 PURCHASE BELLEVUE WA
OFFICE DEPOT 0 01/22 PURCHASE EVERE`|T WA
HOBBYLOBBY 100 01/22 PURCHASE EVERE`|`|' WA
OFFICE DEPOT 0 01/21 PURCHASE BEI_LEVUE WA
QFC #5832 01/20 PURCHASE MUKILTEO WA

QFC #5832 01/20 PURCHASE MUKILTEO WA

RISTORANTE PARADISO 01/20 PURCHASE
724-2831878 WA

CENTURY THEATRES 1118 01/20 PURCHASE
BELLEVUE WA

CENTURY THEATRES 1118 01/20 PURCHASE
BELLEVUE WA

BAREMINERALS # 01/20 PURCHASE BELLEVUE WA

Status

C

Amount

“29.30

-63.00

-17.63

-28.77

-16.59

663.77

~72.38

~4.95

-88.31

-1.65
_-95.11
-50.39
-21.45
-46.40
~60.95

-83.60

-18.55

-21.37

-37.40

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Available
Ba|ance

234,555.94

234,585.24

234,648.24

234,665.87

234,694.64

234,711.23

235,375.00

235,447.38

235,452.33

235,540.64
235,542.29
235,637.40
235,687.79
235,709.24
235,755.64

235,816.59

235,900.19

235,918.74

235,940.11

2/10/2019, 1:51 PM

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Account Details Print Friendly

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Description
STARBUCKS 01/19 PURCHASE 800~782-7282 WA

THE LODGE SPORTS GRILLE 01/18 PURCHASE
MUKI|_TEO WA

BOBS BURGER & BREW - EV 01/17 PURCHASE
EVERETT WA

ARCO#O7063 01/18 PURCHASE OLYMPIA WA
DURGA INC 01/18 PURCHASE TACOMA WA

EINSTEIN BROS BAGEL5217 01/17 PURCHASE
SEA'|'I'LE WA

TST* PASTA & CO. - UNIV 01/17 PURCHASE

SEATTLE WA

§ Add this deal Ita|ian cuisine: Earn 10%
cash back on your Buca di Beppo
purchase!

IMPARK 00250010 01/17 PURCHASE SEA`|`|'LE WA

TEC BUSINESS SERVICES 01/16 PURCHASE
EVERE`|`|' WA

STARBUCKS 01/16 PURCHASE 800-782-7282 WA

SEATTLE TIMES COMPANY 01/16 PURCHASE
206-464-2111 WA

Online Banl<ing transfer to CHK `4811 Confirmation#
2277639654

HANAMI SUSHI GRILL 01/16 PURCHASE MUKILTEO
WA

Status

Amount
-25.00

-42.33

~34.52

-44.18
~2.44

-3.29

h35.29

-15.00

-46.08

-25.00

-15.96

-200.`00

-93.48

Available
Balance

235,977.51

236,002.51
236,044.84

236,079.36
236,123.54

236,125.98

236,129.27

236,164.56

236,179.56

236,225.64

236,250.64
236,266.60

236,466.60

 

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Account Details Print Friendly

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Adv Tiered Interest Chkg - 2926: Account Activity

Baiance Summary:$227,937.87 (avaiiable as of today 02/10/2019)
View:today 02/10/2019

All Transactions

 

 

 

 

 

 

 

WA
§§ Add this deal Earn 10% cash back on

Posting Date Description Sl:atus Amount A§:ill;::

Amount included in Avaiiable Balance

01/17/2019 LIGHTHOUSE FAMILY DENTA 01/16 PURCHASE C ~38.00 236,565.08
MUKILTEO WA

01/17/2019 JOHN HOWIE STEAK 01/15 PURCHASE BELLEVUE C ~43.40 236,603.08
WA

| statement as of 01/17/2019 j

01/16/2019 Check Image Service Fee C -3.00 236,646.48

01/16/2019 Interest Earned C 4.34 236,649.48 §

01/16/2019 OFFICE DEPOT 0 01/16 PURCHASE BELLEVUE WA g -51.35 236,645.14

01/16/2019 SHELL Service 01/16 PURCHASE MUKILTEO WA C -45.23 l 236,696.49

01/16/2019 Microsoi‘t *Xbox 01/16 MOBILE PURCHASE C -110.39 236,741.72
msbi||.inl’o WA

01/16/2019 STARBUC|<S 01/14 PURCHASE 800-782-7282 WA C -25.00 236,852.11

01/16/2019 NORDSTROM #0004 01/15 REFUND BELLEVUE WA (; l412.79 235/877-11

01/15/2019 SNOHOMISH~MK DES:YMCA FEE C -105.00 236,834.32
ID:XXXXX668000004 INDN:KAREN EYMAN CO...

01/15/2019 PUGET SOUND ENER DES:PSE BILL ID:XXXXXO;LSBO C -143.28 236,939.32

- INDN:KAREN EYMAN CO...

01/15/2019 OFFICE DEPOT 0 01/15 PURCHASE BELLEVUE WA g -6.47 237,082.60

01/14/2019 QFC #5832 1170 01/14 PURCHASE MUKILTEO WA C -279.51 237,089.07

01/14/2019 Microsoft *Xbox 01/14 MOBIL.E PURCHASE C -66.23 237,368.58
msbill.info WA

01/14/2019 REGAL CINEMAS ALDERWOOD 01/12 PURCHASE C -18.73 237,434.81
LYNNWOOD WA

01/14/2019 REGAL CINEMAS ALDERWOOD 01/12 PURCHASE C ~26.54 237,453.54
LYNNWOOD WA

01/14/2019 MICROSOFT *XBOX 01/11 PURCHASE MSBILL,.INFO g ~15.45 237,480.08
WA

01/14/2019 HANAMI SUSHI GRILL 01/11 PURCHASE MUKILTEO C -77.56 237,495.53

2/10/2019,_1:51131\/1
case 13_145-36-_1\-/rLB ~-»~DOC 63 -» ~ Filed -02/-141‘19'~ Em. 02/14/»19~16:5~7:~14 »»»»» Pg-. 21~01‘52 ~

 

 

 

Account Detai|s Pl'int Friendly

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01/14/2019
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01/11/2019
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01/11/2019

01/11/2019

01/11/2019

01/11/2019

01/10/2019

01/10/2019

Description

sTARBucKs 01/11 PuRcHAsE 800-782-7282 WA
Amazon Prime 01/11 PuRCHASE Amzn.com/blu WA

HOTELS.COM154872198807 01/11 PURCHASE
HOTELS.COM WA

TST* HOPS N DROPS - LYN 01/10 PURCHASE
LYNNWOOD WA
§§ Add this deal Italian cuisine: Earn 100/o

cash back on your Buca di Beppo
purchase! ~

ENTERPRISE RENT~A~CAR 01/12 REFUND
BELLELVUE WA

ChEC|< 8571

QFC #5808 01/11 PURCHASE BELLEVUE WA
OFFICE DEPOT 0 01/11 PURCHASE BELLEVUE WA
AN FORD BELLEV 01/11 PURCHASE BELLEVUE WA

{,1} Add this deal Click here to earn 10%
cash back on your Midas service.

SAFEWAY FUEL 01/11 PURCHASE EVERE`IT WA
GYRO EXPRESS 01/11 PURCHASE BELL.EVUE WA

ENTERPRISE RENT-A-CAR 01/10 PURCHASE
BELLELVUE WA

SQ *TAYLOR RAY'S CAFE A 01/10 PURCHASE
O|ympia WA

SQ *WAGNER'S EUROPE 01/10 PURCHASE OLYMPIA
WA

AVOCADOS MEXICAN RESTA 01/09 PURCHASE
EVERE`IT WA

JOHN HOWIE STEAK 01/09 F'URCHASE BELLEVUE
WA

STARBUCKS 01/09 PURCHASE 800“782-7282 WA
CBS AL.L ACCESS 01/09 PURCHASE 888-274~5343
CA

§ Add this dea! Earn 100/o cash back on
your Vudu purchase today!

SOUTHWEST FUEL 01/10 PURCHASE OLYMPIA WA

SOUTHWEST FUEL 01/10 PURCHASE OI_.YMPIA WA

Sl:atus

Amount

~25.00
-14.34

~438.27

-8.90

100.00

-2,500.00
-54.93
-55.28

-494.20

-'31.53
-19.14

~100.00

-17.96

~9.35

-41.89

-237.85

-25.00

-6.61

-8.67

-29.63

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Availal:l|e
Balance

237,573.09
237,598.09

237,612.43

238,050.70

238,059.60

237,959.60
240,459.50
240,514.53

240,569.81

241,064.01
241,095.54

241,114.68

241,214.68

241,232.64

241,241.99

241,283.88

241,521.7*3

241,546.73

241,553.34

_ 241,562.01

2/10/2019,1:51PM
CHS€"`18-14536-|\/|LB "'DO`C 63 Fi|'€d '02'/14/19 En'['.v 02/14/19 16257214 ""PQ'.'22"01°5~'2'

 

 

 

 

Account Details Print Friendly

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Posting Date

01/10/2019

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01/09/2019

01/09/2019

01/09/2019
01/08/2019

01/08/2019

Description

HANAMI SUSHI GRILL 01/09 PURCHASE MUKILTEO

WA
§§ Add this deal Earn 10% cash back on

your A&W purchase!

TST* GERALDINE S COUNTE 01/08 PURCHASE
SEATTLE WA

BARNESNOBLE 62 01/09 PURCHASE Be||evue WA

§§ Add this deal Click here to earn 10%
cash back on your Audible membership
or audiobook purchase!

JUSTANSWER *TRIAL 01/08 PURCHASE
800-240-1371 CA

COLUMBIA CIT¥ PARKING 01/08 PURCHASE
SEATT[_E WA

IMPARK 00250010 01/08 PURCHASE SEATTLE WA

LY}'-l' *RIDE TUE 1PM 01/08 PURCHASE LYFT.COM
CA

LOT 3 01/07 PURCHASE BELLEVUE WA

BOBS BURGER & BREW - EV 01/07 PURCHASE
E\/ERETT WA

§§ Add this deal Ita|ian cuisine: Earn 109/o

cash back on your Buca di Beppo
purchase-5

STARBUCKS 01/07 F'URCHASE 800-782-7282 WA
WALGREENS STOR 01/08 PURCHASE MUKILTEO WA

WA SECRETARY OF STATE 01/07 PURCHASE
.WA.GOV WA

Status

C

Amount

~84.18

-34.83

-32.87

-5.00

~2.00

-18.00

-9.19

-43.27

~30.23

-25.00
-51.28

-5.00

https://secure.bankofamerica.com/myaccounts/details/deposit/print-...

Availab|e
Balance

241,591.64

241,675.82

241,710.65

241,743.52

241,748.52

241,750.52

241,768.52

241,777.71

241,820.98

241,851.21
241,876.21

241,927.49

 

2/10/2019,]:51PM
CHS€ 18`-14536-|\/|LB DOC 63 Filed O2/14/19 Ent. O2/14/19 16':57:14 PQ. 23 "Of 52

 

 

 

Acco\mt Details Print Friend|y

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Adv Tiered Interest Chkg ~ 2926: Account Activity
Balance Summary:$227,937.87 (available as of today 02/10/2019)

View:today 02/10/2019

AI| Transactions

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Posting Date Description status Amount A‘B';i|:’"b;:

Amount included in Avai|able Balance

01/08/2019 WA SECRETARY OF STATE 01/07 PURCHASE C -5.00 241,932.49
.WA.GOV WA

01/08/2019 WA SECRETARY OF STATE 01/07 PURCHASE C -5.00 241,937.49
.WA.GOV WA

01/08/2019 WA SECRETARY OF STATE 01/07 PURCHASE g -5.00 241,942.49
.WA.GOV WA

01/08/2019 WA SECRETARY OF STATE 01/07 PURCHASE g -5.00 241,947.49
.WA.GOV WA

01/08/2019 WA SECRETARY OF STATE 01/07 PURCHASE C ~5.00 241,952.49
.WA.GOV WA

01/08/2019 WA SECRETARY OF STATE 01/07 PURCHASE C ~5.00 241,957.49
.WA.GOV WA

01/08/2019 WA SECRETARY OF STATE 01/07 PURCHASE C ~5.00 241,962.49
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01/08/2019 WA SECRETARY OF STATE 01/07 PURCHASE g -5.00 241,967.49
.WA.GOV WA

01/08/2019 WA SECRETARY OF STATE 01/06 PURCHASE C ~5.00 241,972.49
.WA.GOV`WA

01/08/2019 WA SECRETARY OF STATE 01/06 PURCHASE C -5.00 241,977.49
.WA.GOV WA

01/07/2019 ALDERWOOD WATER DES:UTIL PYMNT C ~225.78 241,982.49
ID:22997000-02 INDN:TIM & KAREN E¥MAN...

01/07/2019 QFC FUEL 1170 01/07 PURCHASE MUKI|_TEO WA C -46.14 242,208.27

01/07/2019 THE HOME DEPOT 01/07 PURCHASE EVERETT W/~\ C -89.72 242,254.41

01/07/2019 QFC #5832 01/05 PURCHASE MUKILTEO WA C -27.79 242,344.13

01/07/2019 HANAMI SUSHI & GRILL 01/05 PURCHASE g -30.75 242,371.92
MUKILTEO WA

01/07/2019 VANS #180 01/05 PURCI-IASE LYNNWOOD WA C -132.48 242,402.67

01/07/2019 AMERICAN EAGLE 01/05 PURCHASE LYNNWOOD WA C -120.21 242,535.15

2/10/2019,1:51PM

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Des'cription

AMC ALDERWOOD 16 #2629 01/05 PURCHASE
LYNNWOOD WA

AMC ALDERWOOD 16 #2629 01/05 PURCHASE
LYNNWOOD WA

STARBUCKS 01/05 PURCHASE 800-782~7282 WA

NORDSTROM DIRECT #0808 01/05 PURCHASE
CEDAR RAPIDS IA

BIS ON MAIN 01/04 PURCHASE BELL.EVUE WA

CHACES PANCAKE CORRAL 01/04 PURCHASE
BELL.EVUE W/-\

82568 ~ RUFAS 2.0 01/04 PURCHASE SEATTLE WA

AMAZON.COM*MB?F]. 1L11 AM 01/04 PURCHASE
AMZN.COM/BILL WA

NORDSTROM DIRECT #0808 01/04 PURCHASE
888~282-6060 IA

Amazon Prime 01/04 PURCHASE Amzn.com/bill WA

SQ *U.S. COURTHOUSE CAF 01/04 PURCHASE
5eatt|e WA

CAFE VELOCE 01/03 F'URCHASE KIRKLAND WA

AMC ALDERWOOD 16 #2629 01/05 `REFuND
LYNNWOOD WA

WA TLR transfer Banking Ctr NORT!~| SPOKANE
#0047407 WA Confirmation# 0488861629

ARCO#83186ARCO 01/04 PURCHASE |V|UKILTEO WA
THE HOME DEPOT 01/04 PURCHASE EVERETT WA

LIGHTHOUSE CLEANERS 01/03 PURCHASE
IV|UKILTEO WA

SQ *WAGNER‘S EUROPE 01/03 PURCHASE OLYMPIA
WA

PP*Mukl'|teo Little Leag 01/03 PURCHASE
425-7872826 WA

SQ *WAGNER'S EUROPE 01/03 PURCHASE OLYMPIA
WA

MERCATO RISTORANTE 01/02 PURCHASE OLYMPIA
W/-\

Amount

‘-21.16

-34.62

~25.00

-42.79

-71.25

-18.35

-9.81

~33.11

~240.56

-2.20

-8.75

-50.00

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10,736.00

-46.76
-83.00

-61.40

- -18.59

-190.00

` -8.56

-70.80

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Avai!able
Ba|ance

242,655.36
242,676.52

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242,868.53

242,878.34
242,911.45

243,152.01

243,154.21

243,162.96

243,"212.96
243,199.32

232,463.32
232,510.03

232,593.08
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Postlng Date Descriptlon Status Amount Ba|ance

01/04/2019 REGAL CINEMAS MARTIN VI 01/02 PURCHASE g ~16.96 232,942.43
LACEY WA

01/04/2019 REGAL CINEMAS MARTIN VI 01/02 PURCHASE C -18.25 232,959.39
LACEY WA

01/04/2019 TST* GERALDINE S COUNTE 01/02 PURCHASE C -51.42 232,977.64
SEAT|'LE WA

01/03/2019 VERIZON WIRELESS DES:PAYMENTS C -131.52 233,029.06
ID:XXXXX5643900001...

01/03/2019 " QFC #5832 1170 01/03 PURCHASE MUKILTEO WA C -323.93 233,160.58

01/03/2019 COLUMBIA CITY PARKING 01/02 PURCHASE C -2.00 233,484.51
SEATTLE WA

01/03/2019 CHEESECAKE BELLEVUE 01/01 PURCHASE C -21.59 233,486.51
BELLEVUE WA

01/03/2019 CACTUS BELLEVUE SQUARE 01/01 PURC|-IASE C ~87.35 233,508.20
BELLEVUE WA

01/02/2019 RITE AID STORE 01/02 PURCHASE MUKILTEO WA g -22.05 233,595.55

01/02/2019 WALGREENS STOR 01/02 PURCHASE MUKILTEO WA C -56.37 233,617.60

01/02/2019 OFFICE DEPOT 0 01/02 PURCHASE LACEY WA C -8.51 233,673.97

01/02/2019 OFFICE DEPOT 0 01/02 PURCHASE LACEY WA C -24.88 233,682.48

 

 

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Adv Tiered Interest Chkg - 2926: Account Activity

Balance Summary:$227,937.87 (avai|able as of today 02/10/2019)
View:today 02/10/2019

All Transactions

 

 

 

 

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Amount included in Available Ba|ance
01/02/2019 QFC FUEL 1170 01/02 PURCHASE MUKILTEO WA C ~42.28 233,707.36
01/02/2019 Microsoft*EA Access 1 M 01/02 PURCHASE g -5.50 233,749.64 l
msbil|.info WA
01/02/2019 QFC #5832 1170 01/01 PURCHASE MUKILTEO WA C -71.39 233,755.14
01/02/2019 NORDSTROM #OOO 01/01 PURCHASE BELLEVUE WA C ~49.45 233,826.53
01/02/2019 NORDSTROM #000 01/01 PURCHASE BELLEVUE WA g -11.55 233,875.98
01/02/2019 NORDSTROM #000 01/01 PURCHASE BELLEVUE WA C k275.00 233,887.53
01/02/2019 AMZN Mktp US*M233F6WE1 01/01 PURCHASE C -165.54 234,162.53
Amzn.com/bi|l WA
01/02/2019 HANAMI SUSHI 81 GRILL 12/31 PURCHASE C -68.78 234,328.07
|V|UKILTEO WA
§ Add this deal Earn 10% cash back on
your Five Guys Burgers and Fries
purchase!
01/02/2019 STARBUCKS 12/31 PURCHASE 800-782-7282 WA g -25.00 234,396.85
01/02/2019 L¥FT *RIDE MON 3PM 12/31 PURCHASE lyf't.com CA C -7.98 234,421.85
01/02/2019 LYFT *RIDE MON 3PM 12/31 PURCHASE nyt.com CA C ~6.21 234,429.83
01/02/2019 LYFi' *RIDE MON ZPM 12/31 PURCHASE lyi‘t.c:om CA C -5.92 234,436.04
01/02/2019 LYF|' *RIDE MON 2PM 12/31 PURCHASE lyft.com CA C -5.96 234,441.96
01/02/2019 PRICELINE*HOTEL RL OL 12/31 PURCHASE C -86.99 234,447.92
800-774-2354 CT
01/02/2019 AMC ALDERWOOD 16 #2629 12/30 PURCHASE C -14.89 234,534.91
LYNNWOOD WA
01/02/2019 AMC ALDERWOOD 16 #2629 12/30 PURCHASE C -24.13 234,549.80
LYNNWOOD WA
01/02/2019 MUKILTEO ACE HARDWARE 12/30 PURCHASE C ~32.19 234,573.93
MUKILTEO WA
01/02/2019 DAIRY QUEEN #42515 12/30 PURCHASE (; -24.21 234,606.12

LYNNWOOD WA

2/10/2019, 1:52 PM
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WA

Description Status Amount A`B':i|§’:;;
STARBUCKS 12/30 PURCHASE 800~782-7282 WA C -25.00 234,630.33
_____________
COMCAST 8498310 DES:200028517 ID:8960148 g -364.43 234,655.33
INDN:TIM KAREN *EYMAN CO ID:XXXXX13249...
On|ine Banl<ing transfer to CHK 1006 Confirmation# C -339.00 235,019.76
3330567765
TARGET T~ 1830 12/30 PURCHASE Lynnvvood WA C *122.49 235,358.76
WA|_GREENS STOR 12/30 PURCHASE MUKILTEO WA C “37.80 235,481.25
GOODZGOREPLENISH 12/30 PURCHASE C -50.00 235,519.05
866~936-8246 WA
SPA TEN 20 12/30 PURCHASE EDMONDS WA C -82.00 ‘ 235,569.05
OFFICE DEPOT 0 12/29 PURCHASE BELLEVUE WA C -49.49 235,651.05
JOHN HOWIE STEAK 12/29 PURCHASE BELLEVUE C -27.00 235,700.54
020 GENE JUARE 12/29 PURCHASE BELLEVUE WA C -217.00 235,727.54
§§ Add this deal C!ick here to earn 10%
cash back on your Massage Envy
purchase. Keep your body working.
AMC FACTORIA 8 #2434 12/29 PURCHASE C -8.79 235,944.54
BELLEVUE WA
$ Add this dea-l Earn 10% cash back on
your Vudu purchase today!
AMC FACTORIA 8 #2434 12/29 PURCHASE C ~19.55 235,953.33
BELLEVUE WA
AMC FACTORIA 8 #2434 12/29 PURCHASE C ~25.83 235,972.88
BELLEVUE WA `
AVOCADOS MEXICAN RESTA 12/28 PURCHASE C »55.83 235,998.71
EVERETT WA
CAFE VELOCE 12/27 PURCHASE KIRKLAND WA C -40.20 236,054.54
ANTHONY'S SEAFOOD GRILL 12/27 PURCHASE C ~50.39 236,094.74
LYNNWOOD WA
WA DRIVER LICENSE RENEW 12/26 PURCHASE C -13.00 236,145.13
360-902-7470 WA `
HANAMI SUSHI & GRILL 12/26 PURCHASE g ~59.40 236,158.13
MUKILTEO WA
§§ Add this deal Earn 10% cash back on
your A&W purchase!
g -217.49 236,217.53

M/-\CYS .COM 12/24 PURCHASE 800-289~6229 OH

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for December i5, 2018 to january 16, 2019

 

 

Your denuslt accouan Accuunt!p|an number finding balance Detai£s on
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Regular Savings m 2926 53,715.53 Page ii j
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HY DONALD EYMAN__ _I Accoi.ii'_i_l:_i_iWZ§Z€ i _Deoe_n‘iber 15. 2016 to january 16, 2019 t __ __ __ _ y l

 

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BANK DEPOSIT ACCOUNTS

l-iow to Contaci: Us - You may call us at the telephone number listed on the Front of this statementl

tipcioting your contact iniorme'tion- We encourage you to keep your contact information up~to»date. This includes address entail
and phone number. ii your information has changed the easiest way to update it is by visiting the He|p & Support tab of On|ine

Banking.

Deposit agreement - \Nhen you opened your account, you received a deposit agreement and fee schedule and agreed that your
account Wou|d be governed by the terms of these documents as we may amend them from time to time These documents are
part of the contract for your deposit account and govern all transactions relating to your accountl including all deposits and
withdrawals Copies of both the deposit agreement and fee Schedl,iie Whlch contain the current version of the terms and
conditions ofyour account relationship may be obtained at our financial centers

Electronic transfers ln case oi errors or questions about your electronic i:ransiers- if you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATl\/l transactions direct deposits or withdrawals
point~of~sa|e transactions) on the statement or receipt telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear irom you no later than 60 days after we sent you the FIR$T statement on

which the error or problem appeared

» Te|l us your name and account number.
~» Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or

why you need more information
- Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for persona|. iami|y or household purposes we will investigate your complaint and will
correct any error promptly if we take more than 10 business days (10 calendar days if you are a lviassachusetts customer) (20
business days iiyou are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our invr-zstigationl

For other accounts we investigate and ii we find we have made an error, we credit your account at the conclusion of our
investigation

Reporting other problems - You must examine your statement carefully and promptly You are in the best position to discover
errors and unauthorized transactions on your account if you fail to notify us in writing of suspected problems or an unauthorized
transaction within the time period specified in the deposit agreement (which periods are no more than 60 days after we make
the statement avaiiab|e to you and in some cases are 30 days or iess), we are not liable to you and you agree to not make a
claim against us, for the problems or unauthorized transactions

Direct deposits ~ if you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out ii the deposit was made as scheduled You may also review your activity online or

visit a iinanciai center for information

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Page 2 of 14

CaSe 18-14536-|\/|LB DOC 63 Filed 02/14/19 Ent. 02/14/19 16257:14 PQ. 30 0152

 

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Vouir Adv Tiered interest Ciii€g

TIMOTH\/ DONALD EYMAN KAREN EVMAN

Accouni; summary
Beginning balance on Decernber 15, 2018

Deposits and other additions
Withdrawais and other subtractions

Checks

 

Service fees

Encling balance on January 115, 2019

Annual Percentoge Yield Eorned this statement perlod: 0.02%.
interest Pold Yeor To Dote: 34.34.

ii=eposits and other additions

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11.444.52
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~2 761 09

w ~3. 00

§236,646.48

l-\ccount number: m2926

 

 

 

Date Description Amount
12/26/16““ Counter Credit ___~ 54775
01/07/19 WA TLR transfer w 10.736.00
01/07/19 Cl‘llZCKCARD 0105 Al\/lC ALDERWOOD 16 ii2629 LYNNWOOD WA 7461043900600402716 v b h 13 64
01 /14/19 CHl":C'i'<C/i\RD 0112 ENTiélQiJR|SE REi\l1'-A-CA11 EE'LLELV_Ul§ WA 711164079_01301815335 v …m 7 n 100 00
01/16/1 9_ 7 CHECKCARBNC;;i 51:101;0STR057770004 BELLEVUE WA 71144_>00901600091513 w w M 42 79
01/16/19 interest Eamed 4 34
`i`otal deposits and other additions $11.444.52
Page 3 of 14

CaSe 18-14536-|\/|LB DOC 63 Filed 02/14/19 Ent. 02/14/19 16257:14 PQ. 31 Of 52

 

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12/17/18 CHECKCARD 1215 MACYS .C13M 888 289 6229"8|~1”2“-:1445738 49200145019422 »19;:29
12/17/18 § CHLCKCARD 1218 MA117S C.13M 888 289 6229 811 244457383-’-1§12“881:151319349 -128 83
12/17/18 CHEC|<CARD 1213 RED ROOF |NN 10304 SEATTLE WA 24431068348750040326446 -11.00
12/17/18 CHECKCARD 1213 BOBS BURGER 84 BREW EV EVERETT WA 24269798348500800364999 *22. 10
1271771~8~“min-C§|ECKCARD 1214 STARBUCK58087827282§\7\771-2:882168348100;)48861748 § § :28.88
12/17/18 CHECKCARD 1213 H|L`f'ON A|RPORT PRKNG SEATTLE WA 24755428348173480608807 -113.0()
12/17/18 C|-|ECKCARD 1213 REGAL EVERETT STAD!UM 1 EVERETT WA 24755428348173481422372 -12 96
12/17/18 CHECK£§§§RI:J 1213 REGAL 817|§4RET:[:"STAD[1)1\7F1_E\_/1;_11ET_T d WA,2:17N5"5428348173481425_3;85 nw imm w §'”8 77
. 12717/18 CHl;C}“<CARD w1§2'1'4”WWP HOL|138Y- 121-1131'05 117 LYN~N\!{IOO*D*WA 2¢1;1_3§10683¢192130265_>00860 umw §§ Mw n ~54. 73
12/17/18 CHECKCARD 1215 ANTHONY‘S SEAFOOD GRE{_I_ LYNNWOOD WA -65.69
24055238349207002635481
12/17/18 n WALBERTSONS 5'|:13 ~12/15 §000988207 PURCHASE ALBERTSO¥§§§T881§_8:{|;!1\1\71/13_013_ “WA § pmm“w~-MMM:IAA:L
1271 7718 C['|EC|<_871-1113m17218 51AR81J,1§I 15_800_78_2 7282 WA 24692168350¥08653028515_3®_ § m § n q -25. 88
12/17/18 CHECKCARD 1216 Ai\/|ZN M|<TF’ 115 MZ4BXOZ}0 AMZN.COI\/l/BH_LWA -38.93
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12/17/1 8 STAPLES 1338 12/16 11000245183 PURCHASE STAPLES 1338 LYNNWOOD WA -6.55
12/17/18 QFC I¢5832 12/16 71800805{351 PURCHASE 11708 MUKILTEO MUK|LTEO WA -54. 80
12/17/1§8 W QFC #5832 12/17 11080838244 PURCHASE 1178131\/1U|(11_1EO MU|(1 LTEO WA § § -36 84
1_2/1§//18_ ' AI:BF§F_€T;SONS 5T13 12/17 #88088_302§71;1}8(:1~1£\51§ ALB£RTSONS-S¥C_)F§_€ L7J\1NWO88 WAM …m_ _ h wl "~”‘~_-37.5"1
12/17/18 RlTE A1D STORE 12/17 11000318791 PURCHASE R[TE AID STORE - MUK|I_TEO WA -16.52
12/17/18 SNOHOM|SH MK DES:YMCA FEE 18:13801668000004 1NDN:KAREN EYMAN CO -105.00
|D: 6910565581 PF‘D
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12/18/18 CHECKCARD 1216 AMC A|_DERW13OD 16 #2629 L.YNNWOOD WA 24610438351004039088001 ~17.96
12/18/18 WALGREENS STOR 12/18 70008116671388111~171515 WALGREE?;SNSTORE 1 BELLEVUE WA ~1_.89
i§/§§§ § "§§é§§é§§§ §§1`§§§§§§§§§§§§§ §§¢§_` M§§L§§§ W§ 24323§§§§§§§§§1002§§§§§"' §§15
12/`19/18 CHECKCARD 1219 QFC FUEL 1170 MUKH_TEO WA -31.71
12/19/18 RlTE A!D STORE 12/19 »‘!13000031 69 PURCHASE RlTE AlD ST13RE - EVERETT WA -20.83
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12/20/18 CHECKCARD 1218 STARBUCKS STORE 03411 MUK|L.TEO WA 24692168353108907793888 -14.52
12/20/18 CHEC|<CARD 1218 RISTORANTE PARADiSO 724-2831878 WA 24000978353605082705073 -61.9¢1»
12/20/18 w SHELL Ser\lice 12/28 1'!800837427 PURCHASE SHELL Se§vl;:a Sta EVERETT WA 7 ~51`85
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12/21/'18 CHECKCARD 1220 RED ROBiN NO 44 EVERETT WA 24445888354300526569209 -49415
12/21/`|8 CHECKCARD 1220 VVSU 5UCCESS&CAREERCTR 509 338 8989 WA 24431068354286323801160 -50. 80

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Date Des<:ript`§on Amount
12/21/18 C| 1ECKCARD 1219 WSU TU|TION AND FEES 866 487 4567 WA 24431068354638102606832 -10,477 18
1272sz 816616;66 1216`61=6 666§66/16:666666666'766566%"@6 24445068354§6666§646438 66626@1 93
12/21/18 CHECKCARD 1219 MUK|L.TEO ACE HARDWARE MUKIL`I“EO WA 24388948354630196103756 ~51,88
12/24/18 CHECKCARD 1220 REGAL EVERETT STADEUM 1 EVERETT WA 247868;28355173556184061 -21.48
12/24/18666 CP|[6C1<C6A8861270R6E686AL6_ v1'6£611EI1ETT STAD!UM 1 EVERETT WA 247554283551735561059516666666666666666666666-1¢6188
162/2411 86 6 6 l(;1611::(11<(§)§|?|3 1227651'6,/361§’81}6(61|(:38086782 7282 \16\1A 241592168355_188126621568647666676 666 6 666 66 6 6 -28 88
12/24/18 CHECKCARD 1221 BLOOM|NGDALES COM 388- 289 6229 OH 24445738956688148175238 -156.18
1'§7§;;;1‘; '"€Hga'<€;\§b 7;2`¢ ages éuR;.§§;'B§§vr/” 1.§:/[.~;"1¢;1;6 WA;;;§;?";¢,§?,§;,;§S.;;§mm " ' 432
RECURR|NG
12/24/18 CHECKCARD 1222 MACYS .COMW8688-289¢6229 OH 24448738357600106652914 -228.67669
12/24/18 CHECKCARD 1221 LOT 3 BELLEVUE W/~\ 24755428356173561891896 ~195.77
1666-666 6666§6/6666666666666§76666§6666126661.thu§ WA _2461' 339835706320921 1 131 _1 66166
umwa cHFc»<cARD zz;'6666m6~66666666 66':-,6}§66\~1 BELLE\/uiz 66 24423666§6~}666664466;6 6 6622'1`666
12/24/18 CHECKCARD 1222 L.UC|<Y STR|KE BELLEVUE BELLEVUE WA 24013398357083289212897 -98.50
12/24/18 Cl IECKCARD 1222 CENTURY THEATRES 1 118 BELLEVUE WA 24692168357100524074688 -1 10449
12/264/18 CHEC1<C6A6R8 1222 CENTURY T|'1EATRE86161616868CI_LEVUE WA 24692158357186(6)826/16(,`»722167l 666 666 6 66 6 48.94
12/24/18 QFC 115832 1170 12/23 #880813119 PURCHASE QFC 115832 1178 MUKELTEO WA -103.15
12/24/18 BKOFAMERICA ATM 12/24 !1088884552 WITHDRVVL HARBOUR PO|NTE MUKILTEO WA -380.08
12/246/18 6 NORDSTROM 11001 12/24 8000304325 PURCHASE NGRDSTR6(6.)1\6A66#6881686?:6L`;16\16N\7\70_C78 WA 6 666 6 6 -87.93
1626/62611/18 681.8158`1`8061\186870 12/24 #8881388633 FUR(;1~|66A68[6E61\61:B|9R1'6SON5 8TOR8 LYNN\1VO6OD 11\1/31 666666 37.95
12/24/18 WALGREENS STOR 12/24 #080562762 PURCHASE WALGREENS STORE 1 MUK|LTEO WA ~244.18
12/26/18 66CI~EECKCARD 1224 AF‘L iTUNES COM/B§l_l_ 808 275- 2273 CA 2469215835810016286498766666666666_66666666-2_99
RECURRING
12/26/'18 CHEC|<CARD 1225 SEATTLE T|MES COMPANY 286-464~2111 WA 24431058959200286301130 ~15.96
12/26/18 CHEC|(CARD 1224 COLUMB|A CITY PARKING SEATT[_E WA 24247688358388599129389 ~2. 80
162/2666/6168 66 CHECKCARD 1225 FANDANGO COM FANDANGEEOM CA 24692616886365696100490879080 66 66666666… 666 66 66:2837
162726/1686 6 CHEC61<6CA7~1861224 757: (63|58/31:1)| NE’S 118861\1'11£ $EATT;E WA 244450083582001 1898¢1657 6 6 66 -94. 63
12/26/18 CHECKCARD 3224 REGAL C|NEMAS ALDERWOOD LYNNWOOD VVA -21.94
24755428359153595520968
12/25118 CHECKCARD 1225 M|CROSOFT *XBOX M68686|1:L6116\|FO WA 24438998359400328813562 66666 -11 09
12/26/186 666QFC 118892 1178 12/26 #8801629_034 PURC;~|ASE QFC #5832 1178 M6U6K6|LT6E8661/VA 66 66 6 6 6 6-23914
12/26/18 QFC #5832 12/26 #008805706 PURCHASE 11708 1\/1UK1LTE8 MUKR_TEO WA ~12.22
12/2666/618 661A6/D61688L L|C & R 12/26 #800847288 PURCHA5861I6\1X1)861:LIC & REG LYNNWOOD WA 1370.75
1266/16 N6R656666"666`1"66616226 666661`616§§ 666£:`66§66666§666`6 66616666~ 66666 6 WA 6 6 666'-16613,6_62

 

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Date De$crlpclun Amount
12/26/18 f TARGET 7~4_185~0”1.2/ 26 #OO0377708P0*RC_HA5E TA1101ET1`- 1880”~' LyI-1|1\71'_00_C1- h 111714_`“” 7 …MWMM … mm h:10(') 94
12/26/18 \ITVLé|IE;NO1-5NOHOM15H DES:UT|LITY 1016026781 1NDN:T1M EYN|AR;n CO 1D:0000005286 -175.15
12/27/18 CHECKCARD 1224 SAKUMA]APANESE RESTAUR MUKILTEQ WA 24022448360900016600215 -107.98
12727/18 v `M(~lH[CKC/»\RD 1225 50LUM13`|~4_-C1'1'Y PAR1{1NG 511/111|..1§_ WA 2-4247608360300442859030 v w v w v 1200
12727/1.8 TARGET T- 1830 12/27 17000611824 PURCHASE TARGET T- 1830 l_ynnv\»'ood WA -42.68
12/27/18 RITE AID STORE 12/27 17000337731 PURCHASE R|TE A|D STORE - LYNNWOOD WA -14.00
12/27/ 18 SHELL 5er\71cle 12/27 11000414862 PU§C1'1/:5E 51 |ELL 5ervice Sta |(1RKLAND MW/§WM mn nWmmWWWWMW~WMW3:52”93
17/27/18 1 _”07\1|_1'1;8&111;1!1§ transf;zrto-C_1:11_<-;I811 COn\;ll:1\-'}-elt|on¢f 32952.3_7_8_75> umw-mo … w nw w w :200 00
12/28/18 CHECKCARD 1226 MACYS .CO|\/i 800-289~6229 OH 24445738361500487015232 n ~110.38
17272“87178_ …5111501¢7\¥11) 1226 CHEE§:\’.€I:JV+ 425- 315- 6958 WA 24257948351029010859~3~54 -2'80.00
12728718 w CP;E'C1;E:ARDM1225_CHEER EN\7‘7 425-315 5958 V\7A 24257948361029010559362 … N 7 7 7 _ h m `-115 00
12/28/18 CHECKCARD 1226 Al\/|C ALDERWOOD 16 112629“1:YNNWOOD WA 24610433361004035146298 ~13.64
12728/18 CHECKCARD 1227 Microsoi"t *X00x meil| info `vVA 24204298361000337783622 RECURRING ~33.11
1`§1§§}1§ E"H:E§&§§B`Té"zv Mi§§§§f£ 5><§0>< m§§[§ }§1§"§§§"§4§61129§3§1 000335130644 Recu§§me " 7 m 3-§1§2
12/28/18 QFC #5832 1170 12/28 #000725719 PURCHASE QFC #5832 1170 MUK|LTEO WA 1248.77
12728/18 QFC #5832 12728 71000005418 PURCHASE 1 1700 MUK|LTEO MU|<N_TEO WA -7,12
i`§/_z`§/i*§""' AL§§§~E§§§§§¥J'13`}§§}{§§5§§§§§§§D_§E§A§§ Al§wsows §§§§§"f§_r§NK/Z$B‘Bw ` m}'§:" `" " “"§§§.5'1
1273-1715th 5131§_01<(;'-\13_0*1228 1\7|ACY5 _EC)?\71800289 5229 OH 24445738136376_0(*)1142"399_5“22_M|hA w vt my q m g …:217.49
12/31/18 Cl 1ECKCARD 1226 HANAM| SUSH| & GRILL MU|<!LTEO WA 24323048362395700277853 -59.40
12/31718 CHEC|<CARD 1229 WA DR¥VER hICENSE RENEW 360 902 7470 WA 24431068363207822305304 lim-13 00
12731,/_1'_8_""-" CHECKC71130 1227 A1;11:1~10NY`S 554;0"00`511||:1:1:YVNNWOOD WA 24055238362207002552552 wm W »50. 39
12/31/18 CHECKCARD 1227 CAFE VELOCE K%RKLAND WA 24013398362003746031672 -4020
12/31/18 CHECKCARD 1228 AVOCADOS N|EX|CAN RESTA EVERETT WA 24269798363500886661318 -55 83
12/31/18 -“'E1'|ECKCARD 1229 Al\/;(;[:ACTOR|A 8 112434 BELLEVUE V1/A7451043855400;0271_29549w~ 7 md “mwmwmwm ” ~2583
12/§1/1§ 3 cHecKc§§§`~szg AM`c FA¢?'§§]`§""§`§§§§§ _§§LLEVUE""""`WA 74§{§1§§3§;1§§§§§}1§§§2 ` ' ~_1§ 55
12/31/18 CHECKC/-\RD 1229 AMC FACTOR|A 8 #2434 BELLEVUE> WA 24610438364004027129580 -8.79
12/31/18 020 GENE jUARE 12/29 #000400648 PURCHASE 550 1061|'1 AVE 51543“131:1:51/"”08"__®7;__*“-hmw-4wm… l -21700
12/3171 8"” CHEE`.1;CAR1;,1 22910HN 1'10W|E STEA1< BELL.EVUE WA 2470-75083640180478~58785`,`” "MM … m 7 7 27. 00
12731/18 OFF|CE DEPOT 0 12/29 11000746838 PURCHASE DFFICE DE?OT 00 1 BELLEVUE W/-\ ~49.49
12/31/18 SPA TEN 20 12/30 #000236037 PURCHASE SPA TEN 20 EDMONDS WA M~SZ. 00
12/31/18 5;IECKCARD 1230-500»0200135131:51\1151‘1 866-935 8246_\'\71424431068_3652_07 550606991 74 …MWM~ q dui-50 00
12/31/18 WALGREENS STOR 12730 17000718083 PURCHASE WALGREENS STORE 1 MUKILTEO WA- -37.80
12/31/18 TARGET T- 1830 12/30 #000411630 PURCHASE TARGET T~ 1830 Lynnwood WA -122.49

…_ em.n"§§'§§§§g_`§§§§f§}10"c“»l[é"{§§§'é§§rirm§§}§§§`3§§0_~,§§}§§ m -33§§_0

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T|MOTHY>DO>NALD EYMAN l Accaunt #m?.§?.§ l» December15, 2018 to january 16, 2019

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Dace Descriptl'on Amount
12/31/18 CON|CAST 8498310 DES.'XXXXXXXXX ID:8960148 |NDN:T|M KAREN *EYMAN CO -364.43
|D: 0000213249 PPD
1311111111119 cHE<:1<c`/11RB111 §§111§11113111€1<1_§ 111161111;11 728£1111`1;11§§§1 5836510061>1151611,1116711 1 1111 1 11 111111.1:1§.<10
01/02/19 C|'|EC|<CARD 1231 DA|RY QUE1EN #42515 LVNNWOOD WA 24231688365400100100258 1 -24 21
01 /02/19 C|-|ECKCARD 1230 MUK|LTEO ACE HARDWARE ML}K|I_TEO \11\/,‘;.112438894821€11556301 6682189'1311111 …111 M 111 ;221.119
01/02/19 C~HE_C1<CAR0M122O AMC ALDERW01010111111151 112629 LY[1\111\|1V1V0OD WA 24610438365004034149810 1-2;.113
01/02/19 CHECKCARD 1230 AMC ALDERWOOD 16 #2629 LYNNWOOD WA 24610438365004034149844 '14189
01 /02/19 CHECKCARD 0101 PR|CEL|NE*HOTEL RL OL 809 774- 2354 CT 24692169001100408640584 »86 99
1111/1121/1111111111¢1111§11c111111§111é§111111-1111¥111011:1111611211111,111¢011111;112111`5§11§5011`1110@1§§0671165 1 11 1 1 111-§ 1113
01/02/1.9 CHECKCARD 1231 LYFT ‘RIDE MON ZPM |yFt.com CA 24055239001400966067166 ~5.92
01/02/19 C|“|ECKCARD 1231 LYF'|' "RiDE MON 3P|`\/11yftc0m CA 24055239001400966183856 ~ -6 21
6116§119 1111¢11111:1<1€111611§§1111111111111»~11111»11§1111:1111§1111111111111111111§1140552:§1§1101 40095618381 s 171 _93
01111921/1119n 11 CHECK(;ARD 0101 STARBUCKS 800-182 7282 WA 2469216900110021211129:/1`121461 11111 11*11 1111-11 111 1 -?9 00
01/02/19 CHECKCARD 1231 HANAM| SUSH| & GR|LL MUK1L1'E0 WA 24323049001396600286346 -68.78
01/02/19 C1 |ECKCAHD 0192 AN|ZN Mktp US*M221F6W81 Amzn com/billWA 24692169002100672083681 -165 54
01/02/19 n1\§011[;51`110|\/1 9000 011/1011 I1l10019339357 PURCHA1511:' N0F1091111110M 300041 BELLEVUE WA …1 1 11 1 m~12`/`5. 00
01/02/19 NORDSTROM #OOO 01/01 ff000809592 PURCHASE NORDSTROM #OOCM 1 BELLEVUE WA ~11.55
01/02/19 NORDSTROM JJOOO 01/01 #000811305 PURCHASE NORDSTROM 40004 1 BELLEVUE WA -49.45
01 /02/19 v1111(21111:€#58?>2 1170 01/01',“000317250 PURCHASE QFC' #981321111710111 MUKIL.TEO WA -71 39
01/0112/1191(:.`1[:|ECKCARD O10211111./iicr030ft‘ EA Acc@ss 1 M msbi||. lnfo WA 24204299002000150951113636 1 11111111_1111_111111111111 1-5150
RECURR|NG
01/02/19 CHEC|<CARD 0102 QFC FUEL 1170 MUK{LTEO WA ~42428
01/02/119 10F1;1;\;011E910T10101/02#000922103 151:|REH115I910FF1CE DEP0111 00 6 111.AC1§11211/ WA 1 _ 11 1 11 1 11 11-21111,88
01/02/19 OFF|CE DEPOT 0 01/02 #000650744 PURC|~IASE OFF|CE DEPOT 00 6 LACEY WA »8.51
01/02/19 WALGREENS STOR 01 /02 #000455287 PURCHASE WALGREENS 510RE 1 MUKILTEO WA »56.37
01/02/19 1 R1T11£ A|D STORE 01 /02 1#000350028 PURCHASE 11111;811051101112 - 11\/|1011(11!1.1`1£0 WA »22.09
01 1611/111 511 1111;1111§1<1¢1/11161161 1111 c1c111115 135111§1/111:1§11111111:11911qu 1111 z40551:1319155121§1113111811111111115111111ms
01 /03/19 CHECKCARD 0102 CHEESECAKE BELLEVUE BELLEVUE WA 24431069003091528000045 -21.69
01/03/19 CHECKCARD 0102 COLUMB|A CITY PARK|NG SEATTLE WA 24247609002300501267028 -2.00
01111111§/19 11 11Q1=1c11151113'2111170 151103 1¢1)1)z1§é1é111»1111c11111é1c11:c 111515§1111111>11 1151111111111111\1111 11 1 11111-1§231.§13
01/03/19 VER!ZON V\/|RELESS DES:PAYMENTS 10:032565643900001 iNDN:0000000032565643900001 -131<52
CO |D:1223344794 PPD
01/04/19 CHECKCARD 0103 TST’ GERA\_DINE 5 COUNTE SEATTLE WA 244490090035001¢119811122720“11 1”111"11111_1111111_111_111':511.;12
01/04/19 1 11(111-11|;(;1;(1:111\11011111 01021 REGA1L C|NEl\/1AS MART|N V| LACEY V1V1A ?:1799429002160031¢182?412 11 11 11111111 111111829

 

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Wété'sdz'811\18¥8 8111;3 ether 811§11:1/881:11)11$ ~ 1:1:11”11111~11.181:3

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Descripcion Amount
01"10~4/19 w 888121<04110 0102 11804L clNEMAs 1144111111 111 141;1511'M n 1114 247554290'0§1“8*0034818493 """" -18.98
01104/19 c111z<:1<c4110 0103 148111:410 1115101141\118 01_Yrv11>14 WA 24019399003000291428892 -70.80
01104/19 0111501<1;4110 0103 50 1141481\11511 s 12111101>1-: own/1914 1414 24492159003741340884050 8 58
01/04/1~9““ cH1:c1<c/1110 0109 1>1»*1\4111<11188 1_11_118 Le8g 425 7812828 1114_2431033900300*2230834911 » -190 00
01104119 … cHECKcARD 0103 80 *W40N811 8 811110118 014/1914 1414 24492189003854238179089 nn -18 59
01104/19 131181;1<1;4110 0109 L181111-101191: 01841\18115 1401<18“1150 1414 24275399009900018900094 -81 40
01/04/19 T11E 1101/18 081101 01/04 4000411591 1>111181~14915 11-11511011111-; 08901 114 EVERETT 1114 -83 00
01/04/19 ` c11£c1<1:4110 0104 48001183:1884'111:"0“1\”1"111<11_1150 1414 """" m h :48.78
01 1021"1"9“ <;1181:1<€4110 0103 041-15 1181_00151<1111<141\10 1414 2401;1;199004000425888059 -50.§0
01/07/19 n 8111501<1:4110 0104 50 *1.1 8 80111111101158 848 5@81118 1414 24892189004100133995145 -8.78
01'“/"1`2_7`119“¢`442`811§;<1:_4110“0:1'§4'441-1204 Pr1m8 Amzn 1-,811111>1111114 2489218900410_0157097398 1181:11111111\18 w k2 20
111-10711_9* "*"_8111381<04110 0104 11080'8'"111014“01118_81110”808 9811"2'8"2 8080”14'24`44§00900”8100;01990_45_9 W w w hmw-240 58
01/07/19 c111:1;1<84110 0108 414420N c01\11*1148711111_11 414 411/1211 com/81Lva4 -33.11
24431089008083913527024
01107/19 0111::€1"<*0“411§“01'04"825*6'8"110848{'2'0 91~:'41118_"' 1414"242991"09005000818487124 m ";19.81
01/07/19 c118c1<c4110 0104 81141:89 PANCAKE 0011841 BELLEqu 1114 24559309004900011800870 wm ~18135
01/07119 c111z1:1<c4110 0104 818 011 14411\1 BELLEVUE \1v4 24247809005500949501588 -71 25
01/07/19"'"'" <:11111:1<1:4110 0109 1101105“1110111 01111~:1;1 10808 88~0411~11411108`14 24411§11119011“5“§111)4:1421428§W q n42 79
01/07/19 c1~181;1<1:4111) 0108 514119001<5 800 782 7282 1414248921890081001042;2529umw wl `:28`00
01/07/19 c11Ec1<c/1110 0105 444<: 410811\41000 18 112829 LYNNW000 1414 24810439008004027180371 -34182
01/07119 c1181:1<04110 0105 414€ 410811\41000 18 112829 LYNNWOoD 1414 24810439008004027180878 -21.18
01"10'7119'" _411111:_11_1_84_1\118481_1§“0110§ 10000809§8… 1>11111:11481§ 4'1111~;1111:41\1 84888 7 1111\11\1111`1001 1414“ v v w W~“1“20`.21
01107/19 vANs 11180 01/0511000959410 1111111:11451§ \/4NS 11180 LYNNWOOD 1414 d -132.48
01/07/19 cHEcK<:ARD 0105 1~141\141111 511$111 81 13811_1_ Mu1<1L1'80 1414 24323049008390300309198 -30:28
01/07/19 QFC 115832 01/05 4000005198 PURCHASE 11~7;00 1401<11180 114111<1LTEO 1414 wm …_ …H wWW:2_7N:/§1
0110711 9 ' …`1"';1_8 1101§1_8 08110“1_'01107 11000'1*82"97811`11`111;;14§1;11:1“8"11014808901‘114"1§\112111511 1114"“ :8`9“.2“2
01/07/19 011881<1;4110 0107 QFC 1081 1170 1111111<11_1120 1114 -48.14
01/07/19 41081111000 14141“811 0851111~11_ 1114111\1110:22997000~02 11\101\11111111 811<41181\1 1311/1411 co 122-978
1011912000088 PPD
01/08/19 81181;1<04110 0107 1414 9801181411\1 0F 91418.1414.8011 1414 24431089007028949744090 -5.00
01/08/19 cHEcKcARD 0107 vv4 91:1;111:1'4111' 08 814112 111/4 80\/ 1414 24431089007028949751251 -5.00
01~1<'1“8/19 011801<04110 0107 141495€11814111""01 814112 1111400v 1414 24431089007028949758849 * :8.0'0
0*1“10811"9““ '-"'_1;1180“1<"1:“4110 0107 1414 58c111-:1411\1`01 51418 1414 801/n - 1414 2443101§90_117#028~9'49_7‘5_3'91 9ll m n N _ _ -§.00
01/08119 cHEcKcARD 0107 1414 981:118141111 01= 914sz 111/4801/ \1\/4 24431089007028949754057 -5.00
01 109/19 c1~1Ec1<1:4110 0107 1414 sEcRETARY 0F 81418 1414 aov 1414 24431089007028949759999 ~5.00
0110*8119“""' 0111;€"1<<:4110 0107 1414 SECRETARY 01= 81418 .w4.130v _'11114~24431 089007028949748824 n W… n h *~“""'4'-“'“'».8_0"0

 

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¥lMOTHY DONALD EV_MA_N 1 Account !1m926 1 DecembeNS 2018 co january16, 2019

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Amount

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

Date Descr|pcion

01 /08/1 9 CHECKCARD 0107 WA SECRETARY OF STATE WA. GOV WA 24451069007026949743381 -5 00
01 /08/19 ..... CHECKCARD 0107 WA SECRETARY OF STATE“W/; GOV WA 2443106900702'5'51:1"1~1:/'~47119v m mm ` -5. 00
01/08/19 CHEC|<CARD 0107 WA SECRETARY OF STATE .WA.GOV W/-\ 24431069007026949759064 -5.00
01/08/19 CHEC|<CARD 0107 WA SECRETARY OF STATE .WA GOV WA 24431069007026949792503 -5.00
01/08/19 WALGREENS STOR 01/08 #000303469 PURCHASE WALG8'5|51\1'S510115”1~"57101<|1~1'50 WA -51*2”8
01/09/19 llllll CHECKCAREJ 0108 STARBUCKS 800 782- 7282 \1VA 2469216900810020“5_5711241-humw m w 5 wm l … 51'.:2'5 00
01/09/1-9 CHECKCARD 0107 BOBS BURGER 81 BREVV~ EV EVERETT WA 24269799008500608368845 ~30.23
0~1/0_9/ 19 :““~1§145CKCARD 0107 LOT3 BELLEVUE W4m2475.)42"9008150085093899 ~~~~~~~ -43. 27
01/09/19 _51¢'1-5{.1<(.`/4110l 0108 L¥F”|"'M;1`\-’1_0E 105 1PM LYFT COM CA 24492159008587824010_3~55*~“"_" _ 5 “ _ Hmw_ -9.19
01/09/19 CHECKCARD 0108 |MPARK 00250010 SEATTLE WA 24391229009838000013785 -18. 00
01/09/19 CHECKCARD 0108 COLUMBlA CITY PARK NG SEATTLE WA 24247609008300510477414 ~2.00
0170971~9 CHE(MI_};CARDM0”1*08’1L151;`1\1;V\/_5R TREAL 800<»240 1571 511 24692169008100563057591 lllll »500
01/09/19 BARNESNOBLE 62 01 /09 11000737356 PURCHASE BARNESNOBLE 626 1 Be|fevue WA -32.87
01/10/`19 CHECKCARD 0109 TST* GERALDfNE 5 COUNTE SEATTLE WA 24445009009500443/36735 -34. 83
01/10/19 CHECKCARD 0109 HANA1\/11 SUSHS 01211.’1"w ”MWL]EN<1LTEC_) WA 24755429010130104294609 m __ mm 1 -8418
01/10/1“9 CHECKC»A|§|S -01--1>050U1'HWES1` FU51_ 0LY1\/1P1A WA f - M" h… l n 1 w H :29.63
01/10/19 SOUTHWEST FUEL' '01/'10 #000900036 PURCHASE 1050 PLUM ST 55 OL‘(MP|A \NA -8.67
01 /1 1/19 CHECKCARD 0110 CBS A|_|_ ACCESS 888- 274- 5343 CA 24431069010026966461870 R5CURRING ~6. 61
01711/*1*9»WC||'|`ECKCARD 0110 STARBUCKS 800- 782- 7282 WA~-~ZM46W92‘1690101003090~40*5!5~0… MM du l n n ~25 00
01/11/19 CHECKCARD 01091OHN HOW|E STEAK BELLEVUE WA 24707809010018025920760 -237.85
01/11/19 CHECKCARD 0109 lAVOC!?\DOS MEXICAN RESTA EVERETT WA 24269799011001096198906 -41<89
01/11/19 CHECKCARD 0110 SQ *WAGNER 5 EUROPE OhYNIPlA WA 24492159010740256383629 w9 35
01`/1`1}13"" ` <`;lx§&§ck}§n{"é"{'{£§"s<; rA@}Lor§ §X§§’E`A`%E A'Bl§§§}§}§ \'~`A§§ié§§{'5§61_6§665§§945451 ' m 7 1255
01/11/19 CHECKCARD 0110 ENTERPR155 RENT A- CAR BELLELVUE WA 24164079010018152996985 -100. 00
01,1:11719 d w141.?1;1<€7\110 0111 GYRO EXPRESS BELLEVUE WA 2443106901~1~09113*0001001____““wm w nwva mvv-lmva -`191‘4
01/11/19“ 5AF51NAY FUF::l:v 0171_1_1¢00038_1293PURCHASE SAF5WAY FUEL 1`1'£V5R511"__17\/7\M m 4-~ w 1 M n nw -31.53
01/11/19 AN FORD BELLEV 01/11 11000319298 PURCHASE 411 » 1161'1-1A\/5NU BELLEVUE WA ~494.20
01/11/19 OFF|CE DEPOT 0 01/11 #000717856 PURCHASE OFF|CE DEF'OT 001 BELLEVUE WA 55 28
01/11/19 v QFC #5808 01/11 8000005_098 PURCHASE 10116 NE BTH 5T .-85“|_“125VU5 …~1111;" …H …W w …:54. 93
01/14/19 C|~§ECKCARD 0111 TST* HOF:S N DROPS - LYN LYNNWOOD WA 24445009011100178877378 -8.90
01/14/19 CHECKCARD 0111 HOTELS. COM154872198807 HOTELS.COM WA ~438.27

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TIMOTHY DONALD EYMAN f Account #wZBZG | December 15, 2018 t_o january 16 2019

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81/14/18 n CHEC|;EAF;D 01-1§_8:|_“ARBU~CKS 800-782-72826\¢'\1/1246921688-12100468806359 wm v w -25 08
01/14/19 CHEC|<CARD 0111 HANAM! SUSH| GR|Lb MUK|LTEO WA 24755429012130127311636 -77.56
01/14/19 CHECKCARD 0111 MICROSOFT *XBOX MSB|L.L.|NFO WA24430999011400323034589 ~1545
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01 /14/19 CHECKC/-\RD 0112 REGAL C¥ SNEMAS AL_DEZRV\IOOD LYNNWOOD WA v -18.73
24755429013160130251338
01 /14/19 MOB£LE PURC'HASE` 0114 Microsoft *XIJO)< rnsbi||111\‘:0"\;\;/:M 656 23
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01/15/19 OFF]CE DEPOT 0 01/15 #000823020 PURCHASE OFF|CE DEPOT 00 1 BELLEVUE WA admme wmwwm…mmmwm-v€;;;
01 /1 5/19 PUGET SOUND ENER DES:PSE BILL |0:3375201550 INDN;l<AREN EYMAN CO -143.28
|0:2910374630 CCD
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10;6910565561 F’PD
01/1 6/18 CHEC|<CARD 0115 STARBUCKS 800~782-7282 VVA 2469216901510009341 1434 ~25.00
01/16/19 MOBILE PURCE-|ASE 0116 Micm§of€ *Xbox msbl`||. info Wl§"*:m-‘>WWW MMH -110.38
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01/16/1'8 OFF!CE DEP8T 0 01/16 #000025599 PURCHASE OFF|CE DEP8T 801 BELLEVUE WA -51.35
Tota¥ Wi‘thdrawa¥s and other Suhtractions nw M 524 789. 766
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Date Check # Amount Dac@ Check # Amount
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Dace Transaction description Amount
01/16/19 Check |mage Service Fee ~3.00
-$3.08

`i'otal service Fees

Nore your finding Ba|oncc already reflects the summation of Servfcm Feas.

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cha' R@gu§a§» Saw'ng§
TfMOTH\’ DONALD EYMAN KAREN EYMAN

Amount Snzmmary

 

 

Begfnning balance on De<:ernber 15, 2018 53,675.50

Deposi;s and other additions 40.03

Withdrawals and other subtractions -0.00

Service fees ~0.00

Ending balance on january 16, 2019 53,715.53

Annua! Percenmge Yfeld Earned this statement period: 0.0l %.

Interest Paid Year To Date: 50.03.

Deposits and Other additions

Date Descripcion

12/24/18 B HOOG DES:CRED§T 101138096022926 |NDN:BRYAN HOOG
PPD

01/1~6/1-9' |nterest Earned

Toi:al deposits and other additions

Account number: n 2926

Amount

CO lD:9600030501 40.00

0.03
$40.()3

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TIMOTHY DONALD EYMAN | Account mz$l& l Decembel' 15, 2018to]anuary16,2019 _ _ __'

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T|MOTHY DONALD E\'MAN | Accclunt # GM 2926 { December 15, 2018 to january 16, 2019

Chec!»< wages

Account numberMQQZE
Check numbers 8570 f Amount: 3261.09 Chec|< number: 8571

| Amount: 52,500.00

 

 

6571

 

 

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T|MOTH¥ DONALD EVMAN. | Accounf: #WZ_QZS | December_15, 2018 to J;snuary 16, 2019

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~§alance on Dec 27, 2018 $104,776.81 Annua| percentage yieid (APY) earned 0.14%
Additions Num bar of days th:is statement period 1 32
lnterest 13.1 5 Interest paid (1~28~19) $13.15
Deductions none interest earned this statement period $13.14

Balance on Jan 28, 2019 $104,789.96 M_lnterest, pcid year-to-date v $13_."1§“
lnterest earned (2018) $106.74

 

 

 

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Ghangc in policy for ncr) -l<'eyBan/c clients cashing checks in cranches.

7'0 enhance client prcz‘cction and in accordance w/Tn l(eySan/r's Daposit Acccunt
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may be limiting check cashing services tc non-clients based on inc written
amount of inc check lfycu ha ve any quest/cms regarding this policy change,
please contact l -800-KEY2 Y'OU® (1~800-539-29687 cr visit your local branch

Ycur taxes don 'i have ic be 30 taxing

l\’eyBan/\' will cover the cost for clients to prepare and file their taxes Wiz‘n
TaxAcz‘® iii/s yc.a'r. Coniacf l-BOO~KEYZYOU® {1-800-539-2968/, Visii your local
branch or go to key. corn/taxed for more dctu/ls.

Tawlcz‘® name and logo arc registered trademarks of TaxAci, /nc. and are used
here Wiz‘h permil$sion. l{cyBan/r and its affiliates dc nci provide legal cr tax

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CONSUMER ACCOUNT DFSCL.OSUF{ES

The foi¥owing disclosures apply only to accounts covered by the
Federai 'l`ruth-in- Lending Act or the Federa| Eiectronic Funds
Transier Aot, as amended, or similar state laws.

EN CASE OF EHHOF\ QFl QUESTlONS AElOU'I` YOUR
ELEGTRON|C TRANSFEFIS:

Cal| us at the phone number indicated on the first page of this
statement OR write us at the address listed below*, as econ as
you can, if you think your statement or receipt is wrong or ii you
need more information about a transfer listed on the statement
or receipt We must hear from you no later than sixty (60) days
after we sent you the F|RST statement on which the problem or
error appeared.

*KeyBank
Customer Disputes
NY-31-1 7-0128
17 Corporate Wcocls B|vd
A|bany, NY 12211

» 'E'ell us your name and Account number :

a Deecribe the error or transfer that you are unsure about
end explain as clearly as you can why you believe it is an
error or why you need more information;

q 'i`ell us the dollar amount of the suspected error.

|f you tell us ora||y, Wo may require that you send us your
complaint or question in writing within ten (10) business days.

We will investigate your complaint and will correct any error
promptly. li we take more than ten (10) business days to do
this, we will recredit your account lor the amount you think is in
error, so that you wiil have use of the money during the time it
takes us to complete our investigation

COl\iiMON E|..ECTF¥ON|C TRANSAOTION DESCRIPT¥ONS:

XFEFl 'l°O SAV - Trensier to Savings Account

XFER FROM SAV - iran$fer from Savings Account
XFER TO CKG - Transier to Checking Accoun't
XFER FRON| CKG - Transfer from Gheching Account
PN|T TO CR CAFlD - Payment to Credit Card

ADV CR CARD - Advance from Credit Card

Preauthorized Credits: if you have arranged to have direct
deposits made to your Acccunt at least once every sixty (60)
days from the same person or oompany, you can call us at the
number indicated on the reverse side to find out whether or not
the deposit has been made.

BALANCING YOUFi ACCOUNT

P|eesc examine your statement and paid
check information upon receipt Eresures.
alterations or irregularities should be
reported promptly in accordance with your
account agreement The suggested Steps
below wi§l help you balance your account

lNSTRUCT!ONS

® \lerify and check off in your check register each deposit,
check or other transaction shown on this statement

Enter into your check register and SUBTRACT:

» Ghecks or other deductions shown on our statement that
you have nor already entered

‘ The “Service chargee”, if eny, shown on your statement

Enter into your check register and ADD:

* Deposita or other credits shown on your statement that
you have not already entered

' Tho “lnteroet earned” Shown on your etatement,` iiweny.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

lf you are in ‘Bankruptcy: Tc the extent your originai obligation
was diecharged, or is subject to an automatic Stay of
bankruptcy under Tit|e 11 of the Uniteol States Code, this
statement is for compliance and/or informational purposes only
and does not constitute an attempt to collect a debt or impose
personal liability for such obligation However, ii you have a
secured loan, KeyBank retains rights under its security
instrument including the right to foreclose its lien.

 

 

 

 

 

 

 

 

 

@ Liet from your check @ i..iet any deposits from
register any checks or your check register
other deductions that that are not shown on
arc not shown on your your statement
statement

Chook # -
or Date Amount Dato Amount
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§§ Enter ending balance
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statement
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Q Add 5 and 6 and enter
total here.
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$ l
@ Subtract 8 from ?' and
enter difference hero.
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This amount should agree with
TOTAL § $ your check register balance

 

 

 

 

 

   

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01/31/'19 Credif lnterest 7.00

 

 

 

 

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